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                                                                SCHEDULE O

                                                       S&P Industry Classification Group




                                   Corporate Obligations                                          Structure Finance Securities

Industry                                 Description                       Asset                          Description
  Code                                                                     Type
    0         Zero Default Risk                                             39     Telecommunications
    1         Aerospace and Defense                                         40     Reserve
    2         Air Transport                                                 41     Reserve
    3         Automotive                                                    42     Reserve
    4         Beverage & Tobacco                                            43     Reserve
    5         Radio and Television                                          44     Reserve
    6         Brokers, Dealers & Investment Houses                          45     Reserve
    7         Building & Development                                        46     Reserve
    8         Business Equipment & Services                                 47     Reserve
    9         Cable & Satellite Television                                  48     Reserve
   10         Chemicals & Plastics                                          49     Project Finance
   11         Clothing/Textiles                                             50     CDO
   12         Conglomerates                                                 51     ABS Consumer
   13         Containers & Glass Products                                   52     ABS Commercial
   14         Cosmetics/Toiletries                                          53     CMBS Diversified (Conduit and CTL)
   15         Drugs                                                                                                              and Single
                                                                            54     CMBS      (Larg e Loan, Single Borrower
   16         Ecological Services & Equipment                                      Property)
   17         Electronics/Electrical                                        55     REITS and REOCs
   18         Equipment Leasing                                             56     RMBS A
   19         Farming/Agricultural                                          57     RMBS B&C, HELs, HELOCs and Tax Lien
   20         Financial Intermediaries                                      58     Manufactured Housing
   21         Food/Drug Retailers                                           59     U.S. Agency (Explicitly Guaranteed)
   23         Food Products                                                 60     Monoline/FER Company Guaranteed
   24         Food Service                                                  61     Non-FER Company Guaranteed
   25         Forest Products                                               62     FFELP Student Loans (over 70% FFELP)
   25         Health Care                                                   63     Reserve
   26         Home Fumishings                                               64     Reserve
   27         Lodging & Casinos                                             65     Reserve
   28         Industrial Equipment                                          66     Reserve
   29         Insurance                                                     67     Reserve
   30         Leisure Goods/Activities/Movies                               68     Reserve
   31         Nonferrous Metals/Minerals                                    69     Reserve
   32         Oil & Gas                                                     70     Reserve
   33         Publishing                                                    71     Reserve
   34         Rail Industries                                               72     Reserve
   35         Retailers (except Food & Drug)                                73     Reserve
   36         Steel                                                         74     Reserve
   37         Surface Transport                                             75     Reserve
   38         Utilities                                                     76     Reserve
   39         Telecommunications                                            77     Reserve
   40         Reserve
   41         Reserve
   42         Reserve
   43         Reserve
   44         Reserve
   45         Reserve
   46         Reserve
   47         Reserve
   48         Reserve




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                                                                                      EXHIBIT   A-1

    [FORM OF TEMPORARY                 REGULATION     S GLOBAL    CLASS [a-1][A-2]   [B][C][D][E]
                                                    NOTE]


THIS NOTE      HAS NOT BEEN AND WILL NOT BE REGISTERED                  UNDER    THE
SECURITIES     ACT OF 1933, AS AMENDED         (THE "SECURITIES      ACT), OR THE
SECURITIES    LAWS OF ANY STATE OF THE UNITED STATES OR ANY OTHER
JURISDICTION,     AND MAY BE RESOLD, PLEDGED OR OTHERWISE             TRANSFERRED
ONLY (A) (1) TO A PERSON WHICH TAKES DELIVERY OF THIS NOTE (OR INTEREST
HEREIN)    IN THE FORM OF A RESTRICTED            NOTE AND WHOM THE SELLER
REASONABLY       BELIEVES IS A "QUALIFIED    INSTITUTIONAL    BUYER" WITHIN THE
MEANING      OF RULE      144A UNDER     THE    SECURITIES   ACT    ("RULE    144A"),
PURCHASING      FOR ITS OWN ACCOUNT,      TO WHOM NOTICE IS GIVEN THAT THE
RESALE, PLEDGE OR OTHER TRANSFER           IS BEING MADE IN RELIANCE        ON THE
EXEMPTION     FROM SECURITIES ACT REGISTRATION         PROVIDED BY RULE 144A OR
(2) TO A NON-U.S.     PERSON IN AN OFFSHORE        TRANSACTION    IN ACCORDANCE
WITH RULE 904 OF REGULATION         S UNDER THE SECURITIES     ACT ("REGULATION
S"), (B) IN COMPLIANCE     WITH THE CERTIFICATION      AND OTHER REQUIREMENTS
SPECIFIED IN THE INDENTURE        REFERRED TO HEREIN AND (C) IN ACCORDANCE
WITH ANY APPLICABLE          SECURITIES  LAWS OF ANY STATE OF THE UNITED
STATES AND ANY OTHER RELEVANT JURISDICTION.


NEITHER         OF THE       ISSUERS     HAS   BEEN    REGISTERED     UNDER    THE   INVESTMENT
COMPANY ACT OF 1940, AS AMENDED (THE "INVESTMENT             COMPANY   ACT"). NO
TRANSFER OF THIS NOTE (OR ANY INTEREST HEREIN) MAY BE MADE (AND NONE
OF THE ISSUERS, THE TRUSTEE OR THE NOTE REGISTRAR WILL RECOGNIZE             ANY
SUCH TRANSFER)      IF (A) SUCH TRANSFER    WOULD BE MADE TO A TRANSFEREE
WHO IS A U.S. RESIDENT (WITHIN THE MEANING OF THE INVESTMENT           COMPANY
ACT) BUT IS NOT A "QUALIFIED PURCHASER"         AS DEFINED IN SECTION 2(a)(51)(A)
OF    THE    INVESTMENT        COMPANY      ACT    AND     RELATED    RULES,      A
"KNOWLEDGEABLE         EMPLOYEE"    WITH RESPECT TO THE ISSUER (WITHIN THE
MEANING     OF RULE 3c-5 UNDER        THE INVESTMENT      COMPANY    ACT) OR A
COMPANY     EACH OF WHOSE BENEFICIAL        OWNERS IS A QUALIFIED    PURCHASER
OR    A   KNOWLEDGEABLE          EMPLOYEE     (COLLECTIVELY,      A  "QUALIFIED
PURCHASER")     TAKING DELIVERY      OF THIS NOTE (OR INTEREST HEREIN) IN THE
FORM OF A RESTRICTED        NOTE, (B) SUCH TRANSFER WOULD HAVE THE EFFECT
OF REQUIRING      EITHER   OF THE ISSUERS     TO REGISTER    AS AN INVESTMENT
COMPANY UNDER THE INVESTMENT           COMPANY ACT OR (C) OTHER THAN IN THE
CASE OF A TRANSFEREE         WHO ACQUIRES     AN INTEREST    IN A REGULATION      S
GLOBAL NOTE AFTER THE END OF THE DISTRIBUTION             COMPLIANCE   PERIOD IN
AN OFFSHORE      TRANSACTION     EFFECTED   IN ACCORDANCE      WITH RULE 904 OF
REGULATION     S, SUCH TRANSFER WOULD BE MADE TO A TRANSFEREE           WHO IS A
U.S. RESIDENT THAT IS A FLOW-THROUGH INVESTMENT           VEHICLE OTHER THAN A
QUALIFYING               INVESTMENT      VEHICLE      (EACH   AS DEFINED    IN THE   INDENTURE)



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WHICH TAKES DELIVERY OF THIS NOTE (OR INTEREST HEREIN) IN THE FORM OF
A RESTRICTED NOTE.


IN ADDITION, NO TRANSFER OF THIS NOTE (OR ANY INTEREST HEREIN) MAY BE
MADE (AND NEITHER THE TRUSTEE NOR THE NOTE REGISTRAR WILL RECOGNIZE
ANY SUCH TRANSFER) IF SUCH TRANSFER WOULD BE MADE TO A TRANSFEREE
THAT IS A U.S. RESIDENT      AND IS (A) A DEALER DESCRIBED    IN PARAGRAPH
(a)(1)(ii) OF RULE 144A WHICH OWNS AND INVESTS ON A DISCRETIONARY        BASIS
LESS THAN U.S.$25,000,000  IN SECURITIES OF ISSUERS THAT ARE NOT AFFILIATED
PERSONS OF THE DEALER OR (B) A PLAN REFERRED TO IN PARAGRAPH        (a)(1)(i)(D)
OR (a)(1)(i)(E) OF RULE 1441 OR A TRUST FUND REFERRED      TO IN PARAGRAPH
(a)(1)(i)(F) OF RULE 1441 THAT HOLDS THE ASSETS OF SUCH A PLAN, UNLESS
INVESTMENT       DECISIONS WITH RESPECT TO THE PLAN ARE MADE SOLELY BY
THE FIDUCIARY, TRUSTEE OR SPONSOR OF SUCH PLAN.


EACH    ORIGINAL     PURCHASER     AND    TRANSFEREE     WILL   BE DEEMED     TO
REPRESENT     AND    WARRANT)     THAT    EITHER   (A) IT IS NOT     A PLAN,   A
GOVERNMENTAL       OR CHURCH PLAN WHICH IS SUBJECT TO ANY FEDERAL, STATE
OR LOCAL      LAW    THAT    IS SIMILAR    TO THE PROHIBITED       TRANSACTION
PROVISIONS    OF SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE, OR AN
ENTITY WHICH IS DEEMED TO HOLD THE ASSETS OF ANY SUCH PLAN PURSUANT
TO 29 C.F.R. SECTION 2510.3-101, OR (B) ITS PURCHASE AND OWNERSHIP      OF SUCH
NOTE WILL NOT RESULT IN A NON-EXEMPT           PROHIBITED   TRANSACTION   UNDER
SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE (OR, IN THE CASE OF A
GOVERNMENTAL       OR CHURCH PLAN, ANY SUCH SIMILAR U.S. FEDERAL, STATE
OR LOCAL LAW).

EACH PURCHASER    OF THIS NOTE WILL BE DEEMED     TO HAVE MADE THE
APPLICABLE REPRESENTATIONS  AND AGREEMENTS   SET FORTH IN THIS LEGEND.
THIS NOTE OR ANY BENEFICIAL  INTEREST HEREIN MAY NOT BE HELD AT ANY
TIME BY A U.S. PERSON WHO IS NOT A QUALIFIED PURCHASER.         THIS NOTE OR
ANY BENEFICIAL     INTEREST HEREIN MAY BE TRANSFERRED       TO A PERSON WHO
TAKES DELIVERY IN THE FORM OF AN INTEREST IN A RESTRICTED         NOTE OR (IN
CERTAIN LIMITED CIRCUMSTANCES)        A DEFINITIVE NOTE ONLY (IN THE CASE OF
AN INTEREST      IN A RESTRICTED      GLOBAL     NOTE) IN ACCORDANCE     WITH
APPLICABLE    PROCEDURES    (AS DEFINED IN THE INDENTURE)   AND (IN THE CASE
OF A DEFINITIVE NOTE) UPON RECEIPT BY THE NOTE REGISTRAR OF A TRANSFER
CERTIFICATE    BY THE TRANSFEROR     AND THE TRANSFEREE    SUBSTANTIALLY    IN
THE FORM SPECIFIED IN THE INDENTURE.


THIS NOTE (OR AN INTEREST     HEREIN) MAY NOT BE TRANSFERRED    UNLESS,
AFTER GIVING EFFECT TO THE TRANSFER, THE TRANSFEREE  IS HOLDING A NOTE
WITH AN ORIGINAL PRINCIPAL AMOUNT WHICH IS EQUAL TO U.S.$1,000,000   OR
INTEGRAL MULTIPLES OF U.S.$1,000 IN EXCESS THEREOF.




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TO THE EXTENT    APPLICABLE  TO THE ISSUERS, THE ISSUERS MAY IMPOSE
ADDITIONAL  TRANSFER RESTRICTIONS  TO COMPLY WITH THE USA PATRIOT ACT
OR OTHER SIMILAR LAWS AND REGULATIONS,    AND EACH BENEFICIAL   OWNER
OF A NOTE AGREES TO COMPLY WITH SUCH TRANSFER RESTRICTIONS.

THE PURCHASER    OF THIS NOTE OR ANY BENEFICIAL    INTEREST HEREIN WILL BE
DEEMED TO UNDERSTAND       AND AGREE THAT IF ANY PURPORTED      TRANSFER OF
THIS NOTE OR ANY BENEFICIAL     INTEREST HEREIN TO A PURCHASER     DOES NOT
COMPLY     WITH THE REQUIREMENTS        SET FORTH    IN THIS NOTE     OR THE
INDENTURE,   THEN THE PURPORTED TRANSFEROR      OF THIS NOTE OR BENEFICIAL
INTEREST HEREIN SHALL BE REQUIRED TO CAUSE THE PURPORTED         TRANSFEREE
TO SURRENDER      THE TRANSFERRED      NOTE OR ANY BENEFICIAL       INTEREST
THEREIN IN RETURN FOR A REFUND OF THE CONSIDERATION        PAID THEREFOR BY
SUCH TRANSFEREE     (TOGETHER   WITH INTEREST THEREON)     OR TO CAUSE THE
PURPORTED    TRANSFEREE   TO DISPOSE OF SUCH NOTE OR BENEFICIAL     INTEREST
PROMPTLY    IN ONE OR MORE OPEN MARKET SALES TO ONE OR MORE PERSONS
EACH OF WHOM SATISFIES     THE REQUIREMENTS    OF THE REPRESENTATIONS,
WARRANTIES    AND COVENANTS     SET FORTH   IN THIS LEGEND,    AND SUCH
PURPORTED   TRANSFEROR   SHALL TAKE, AND SHALL CAUSE SUCH TRANSFEREE
TO TAKE, ALL FURTHER ACTION NECESSARY    OR DESIRABLE,  IN THE JUDGMENT
OF THE ISSUER, TO ENSURE THAT SUCH NOTE OR ANY BENEFICIAL        INTEREST
THEREIN IS HELD BY PERSONS IN COMPLIANCE    THEREWITH.   ANY TRANSFER IN
VIOLATION  OF THE FOREGOING   PROVISIONS OF THIS NOTE OR THE INDENTURE
WILL BE OF NO FORCE AND EFFECT, WILL BE VOID AB INITIO, AND WILL NOT
OPERATE TO TRANSFER ANY RIGHTS TO THE TRANSFEREE,      NOTWITHSTANDING
ANY INSTRUCTIONS   TO THE CONTRARY TO THE ISSUERS, THE TRUSTEE OR ANY
INTERMEDIARY.




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                                        GEMSTONE           CDO       VI LTD.
                                       GEMSTONE           CDO       VI CORP.


     TEMPORARY             REGULATION           S GLOBAL           CLASS    [A-l]    [A-2] [B] [C] [D] [E] NOTE

                                                    representing

                                                 Up to U.S.$[.__]
                     CLASS     [A- 1][A-2]    [B] [C] [D] [E] NOTES        DUE      AUGUST     2046



                                                                           U.S.$     Principal amount       currently
                                                                                     shown on Appendix      1 hereto.
ISINNo. [__]
Certificate No. [__

                  Gemstone CDO VI Ltd., an exempted company with limited liability incorporated
under the laws of Cayman Islands (the "Issuer"),       and Gemstone CDO VI Corp., a corporation
organized under the laws of the State of Delaware (the "Co-Issuer"     and, together with the Issuer,
the "Co-Issuers"),     for value received, hereby promise to pay to Cede & Co., or registered
assigns, upon surrender hereof the original principal amount shown on Appendix 1 or such
amount as shall be the outstanding         principal amount hereof after (a) adding the aggregate
principal amount of each Restricted Global Class [A-1][A-2][B][C][D][E]           Note or Definitive
Class [A- 1][A-2][B] [C] [D] [E] Note surrendered in exchange for a portion or portions hereof and
(b) subtracting     the aggregate   principal amount of each Restricted     Global Class [A-1][A-
2] [B] [C] [D] [E] Note or Definitive Class [A-1][A-2][B][C][D][E]   Note issued in exchange for a
portion or portions hereof and (iii) any principal payments made in accordance              with the
provisions hereof and the Indenture on or prior to the August 2046 Distribution            Date (the
"Stated Maturity").

               This is one of the U.S.$[___] Class [A-1][A-2][B][C][D][E]         Notes due August
2046 (the "Class [A-l] [A-2] [B] [C] [D] [E] Notes") issued under an Indenture, dated as of August
17, 2006 (the "Indenture"),       among the Co-Issuers      and Deutsche    Bank Trust Company
Americas, as trustee (the "Trustee").   Authorized under the Indenture are the $446,250,000 Class
A-1 Floating Rate Notes Due August 2046, $78,750,000 Class A-2 Floating Rate Notes Due
August 2046, $66,500,000 Class B Floating Rate Notes Due August 2046, $26,000,000 Class C
Floating Rate Deferrable Interest Notes Due August 2046, $35,250,000         Class D Floating Rate
Deferrable Interest Notes Due August 2046 and $10,500,000 Class E Floating Rate Deferrable
Interest Notes Due August 2046 (collectively, the "Notes"). The Notes will be issued on the
Closing Date pursuant to the Indenture.

                 Reference is hereby made to the terms and conditions       of Class [A-1][A-2]
[B] [C] [D] [E] Notes set forth in the Indenture. Such provisions shall for all purposes have the
same effect as though fully set forth herein.

                 Capitalized    terms used herein       and not otherwise        defined     shall have the meanings
set forth in the Indenture.




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               Interests in this Temporary Regulation S Global Class [A-1][A-2][B][C][D][E]
Note may be transferred or exchanged subject to the terms of this Temporary Regulation                                      S
Global Class [A- 1] [A-2] [B] [C] [D] [E] Note and the provisions of the Indenture.

                  Interests in this Temporary Regulation S Global Class [A-1][A-2][B][C][D][E]
Note shall be exchanged for beneficial interests in the Permanent Regulation S Global [A-1][A-
2][B][C][D][E]      Note in the same aggregate principal amount as the principal amount of the
interest in this Temporary Regulation S Global Class [A-1] [A-2] [B] [C] [D] [E] Note submitted
for exchange, subject to the terms of this Temporary Regulation           S Global Class [A-1][A-
2][B][C][D][E]     Note. No holder of any interest in this Temporary Regulation S Global Class [A-
1] [A-2] [B] [C] [D] [E] Note will be entitled to receive any payment hereon except to the extent
such holder's interest in this Temporary Regulation         S Global Class [A-1][A-2][B][C][D][E]
Note is exchanged         for an interest in the Permanent    Regulation  S Global Class [A-1][A-
2][B][C][D][E]     Note as provided in the next succeeding paragraph.

               Upon termination     of the Distribution   Compliance      Period, interests in this
Temporary Regulation S Global Class [A-1][A-2][B][C][D][E]        Note shall be exchangeable     for
interests in the Permanent    Regulation    S Global Class [A-1][A-2][B][C][D][E]        Note upon
compliance with certification requirements as set forth in the Indenture.     On an exchange of the
whole of this Temporary       Regulation    S Global Class [A-1][A-2][B][C][D][E]         Note, this
Temporary Regulation S Global Class [A- 1][A-2] [B] [C] [D] [E] Note shall be surrendered to the
Principal Paying Agent. On an exchange of part only of this Temporary Regulation S Global
Class [A-1][A-2][B][C][D][E]    Note, details of such exchange shall be entered by the Principal
Paying Agent on Appendix 1 hereto, whereupon the principal amount shall be reduced for all
purposes by the amount so exchanged and endorsed.

               This Temporary Regulation S Global Class [A-1][A-2][B][C][D][E]       Note has the
benefit of and is issued pursuant to the terms of the Indenture which is incorporated herein by
reference.

               Interest on the Class [A-1][A-2][B][C][D][E]    Notes will be payable quarterly in
arrears on each Distribution Date to the Holders of such Class [A-1][A-2][B][C][D][E]    Notes. A
"Distribution   Date" will be the 17th day of each February, May, August, and November
commencing on November 17, 2006, provided, however, that if any such date shall fall on a day
which is not a Business Day, the Distribution Date shall be the next succeeding Business Day.

                    The    Class   [A-1][A-2][B][C][D][E]          Notes   will bear interest     at the "Class[A-1][A-
2][B][C][D][E] Note Interest Rate",             which,      for each Interest   Period,   is a per annum    rate equal    to
the sum of LIBOR plus [__]%.

                  On each Distribution   Date, principal will be payable                        in accordance     with the
priority of distribution provisions set forth in the Indenture.

                  Unless the certificate of authentication    hereon has been executed by manual
signature by or on behalf of the Trustee, this Temporary Regulation S Global Class [A-1][A-
2] [B] [C] [D] [E] Note shall not be valid or obligatory for any purpose.




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                    This Temporary Regulation       S Global Class [A-1][A-2][B][C][D][E]      Note does
not represent      or evidence an interest in or obligation of, and is not guaranteed by, the Trustee.




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                     IN WITNESS    WHEREOF,    the Co-Issuers   have caused this instrument    to be duly
executed.




                                                GEMSTONE         CDO VI LTD.


                                                By:
                                                      Name:
                                                      Title:




                                                GEMSTONE         CDO VI CORP.


                                                By:
                                                      Name:
                                                      Title:




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                                CERTIFICATE     OF AUTHENTICATION


         This is the Temporary Regulation      S Global Class [A- 1] [A-2] [B] [C] [D] [E] Note referred
to in the within mentioned Indenture.




                                                 DEUTSCHE BANK TRUST              COMPANY
                                                     AMERICAS,
                                                     as Authenticating Agent



                                                 By:
                                                       Authorized   Signatory




Dated:   August     17, 2006




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                                               APPENDIX     1




            DATE                         PRINCIPAL   AMOUNT               AGGREGATE
                                                                      PRINCIPAL AMOUNT


                                    INCREASE              DECREASE




     August     17, 2006                                                   u.s.$[      ]




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                                                                                            EXHIBIT   A-2

     [FORM      OFPERMANENT             REGULATION       S GLOBAL    CLASS   [A-1][A-2][B][C]
                                                     [D][E] NOTE]



THIS     NOTE        HAS      NOT   BEEN     AND     WILL   NOT     BE   REGISTERED        UNDER      THE
SECURITIES     ACT OF 1933, AS AMENDED         (THE "SECURITIES      ACT),  OR THE
SECURITIES    LAWS OF ANY STATE OF THE UNITED              STATES OR ANY OTHER
JURISDICTION,    AND MAY BE RESOLD, PLEDGED OR OTHERWISE              TRANSFERRED
ONLY (A) (1) TO A PERSON WHICH TAKES DELIVERY OF THIS NOTE (OR INTEREST
HEREIN)   IN THE FORM OF A RESTRICTED             NOTE AND WHOM THE SELLER
REASONABLY       BELIEVES IS A "QUALIFIED    INSTITUTIONAL     BUYER" WITHIN THE
MEANING     OF RULE      144A UNDER     THE     SECURITIES    ACT   ("RULE    144A"),
PURCHASING      FOR ITS OWN ACCOUNT,      TO WHOM NOTICE IS GIVEN THAT THE
RESALE, PLEDGE OR OTHER TRANSFER           IS BEING MADE IN RELIANCE        ON THE
EXEMPTION     FROM SECURITIES   ACT REGISTRATION       PROVIDED BY RULE 144A OR
(2) TO A NON-U.S.   PERSON IN AN OFFSHORE     TRANSACTION    IN ACCORDANCE
WITH RULE 904 OF REGULATION      S UNDER THE SECURITIES   ACT ("REGULATION
S"), (B) IN COMPLIANCE   WITH THE CERTIFICATION   AND OTHER REQUIREMENTS
SPECIFIED IN THE INDENTURE     REFERRED TO HEREIN AND (C) IN ACCORDANCE
WITH ANY APPLICABLE       SECURITIES  LAWS OF ANY STATE OF THE UNITED
STATES AND ANY OTHER RELEVANT JURISDICTION.


NEITHER         OF THE        ISSUERS     HAS   BEEN    REGISTERED       UNDER     THE    INVESTMENT
COMPANY ACT OF 1940, AS AMENDED (THE "INVESTMENT           COMPANY   ACT"). NO
TRANSFER OF THIS NOTE (OR ANY INTEREST HEREIN) MAY BE MADE (AND NONE
OF THE ISSUERS, THE TRUSTEE OR THE NOTE REGISTRAR        WILL RECOGNIZE    ANY
SUCH TRANSFER)    IF (A) SUCH TRANSFER WOULD BE MADE TO A TRANSFEREE
WHO IS A U.S. RESIDENT (WITHIN THE MEANING OF THE INVESTMENT         COMPANY
ACT) BUT IS NOT A "QUALIFIED PURCHASER"       AS DEFINED IN SECTION 2(a)(51)(a)
OF   THE    INVESTMENT       COMPANY      ACT    AND    RELATED     RULES,      A
"KNOWLEDGEABLE      EMPLOYEE"    WITH RESPECT     TO THE ISSUER (WITHIN THE
MEANING    OF RULE 3c-5 UNDER       THE INVESTMENT      COMPANY    ACT) OR A
COMPANY EACH OF WHOSE BENEFICIAL          OWNERS IS A QUALIFIED    PURCHASER
OR   A   KNOWLEDGEABLE         EMPLOYEE     (COLLECTIVELY,      A  "QUALIFIED
PURCHASER")    TAKING DELIVERY     OF THIS NOTE (OR INTEREST HEREIN) IN THE
FORM OF A RESTRICTED      NOTE, (B) SUCH TRANSFER WOULD HAVE THE EFFECT
OF REQUIRING    EITHER OF THE ISSUERS TO REGISTER          AS AN INVESTMENT
COMPANY UNDER THE INVESTMENT         COMPANY ACT OR (C) OTHER THAN IN THE
CASE OF A TRANSFEREE       WHO ACQUIRES     AN INTEREST    IN A REGULATION      S
GLOBAL NOTE AFTER THE END OF THE DISTRIBUTION          COMPLIANCE    PERIOD IN
AN OFFSHORE    TRANSACTION     EFFECTED   IN ACCORDANCE      WITH RULE 904 OF
REGULATION    S, SUCH TRANSFER WOULD BE MADE TO A TRANSFEREE   WHO IS A
U.S. RESIDENT THAT IS A FLOW-THROUGH INVESTMENT   VEHICLE OTHER THAN A
QUALIFYING    INVESTMENT   VEHICLE (EACH AS DEFINED  IN THE INDENTURE)



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WHICH   TAKES              DELIVERY      OF THIS   NOTE     (OR INTEREST       HEREIN)     IN THE   FORM      OF
A RESTRICTED               NOTE.



IN ADDITION,           NO     TRANSFER      OF THIS    NOTE       (OR ANY    INTEREST     HEREIN)    MAY      BE
MADE      (AND      NEITHER       THE TRUSTEE         NOR   THE    NOTE   REGISTRAR       WILL   RECOGNIZE
ANY     SUCH      TRANSFER)           IF SUCH   TRANSFER       WOULD        BE MADE      TO A TRANSFEREE
THAT       IS A U.S.         RESIDENT    AND IS (A) A DEALER                 DESCRIBED    IN PARAGRAPH
(a)(1)(ii)   OF RULE          144A WHICH   OWNS AND INVESTS                 ON A DISCRETIONARY     BASIS
LESS    THAN       U.S.$25,000,000       IN SECURITIES       OF ISSUERS      THAT   ARE   NOT    AFFILIATED
PERSONS       OF THE DEALER    OR (B) A PLAN REFERRED   TO IN PARAGRAPH   (a)(1)(i)(D)
OR (a)(i)(i)(E)   OF RULE   144A OR A TRUST    FUND   REFERRED   TO IN PARAGRAPH
(a)(1)(i)(F) OF RULE   144A             THAT    HOLDS   THE ASSETS  OF SUCH A PLAN,  UNLESS
INVESTMENT      DECISIONS               WITH    RESPECT   TO THE PLAN  ARE MADE  SOLELY   BY
THE    FIDUCIARY,           TRUSTEE      OR SPONSOR         OF SUCH   PLAN.



EACH    ORIGINAL     PURCHASER     AND    TRANSFEREE      WILL   BE DEEMED     TO
REPRESENT     AND    WARRANT)     THAT    EITHER   (A) IT IS NOT      A PLAN,   A
GOVERNMENTAL       OR CHURCH PLAN WHICH IS SUBJECT TO ANY FEDERAL, STATE
OR LOCAL      LAW    THAT    IS SIMILAR    TO THE PROHIBITED        TRANSACTION
PROVISIONS    OF SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE, OR AN
ENTITY WHICH IS DEEMED TO HOLD THE ASSETS OF ANY SUCH PLAN PURSUANT
TO 29 C.F.R. SECTION 2510.3-101, OR (B) ITS PURCHASE AND OWNERSHIP OF SUCH
NOTE WILL NOT RESULT IN A NON-EXEMPT           PROHIBITED    TRANSACTION  UNDER
SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE (OR, IN THE CASE OF A
GOVERNMENTAL    OR CHURCH PLAN, ANY SUCH SIMILAR U.S. FEDERAL, STATE
OR LOCAL LAW).

EACH PURCHASER        OF THIS NOTE WILLBE        DEEMED   TO HAVE MADE THE
APPLICABLE REPRESENTATIONS       AND AGREEMENTS      SET FORTH IN THIS LEGEND.
THIS NOTE OR ANY BENEFICIAL       INTEREST HEREIN MAY NOT BE HELD AT ANY
TIME BY A U.S. PERSON WHO IS NOT A QUALIFIED PURCHASER.           THIS NOTE OR
ANY BENEFICIAL     INTEREST HEREIN MAY BE TRANSFERRED         TO A PERSON WHO
TAKES DELIVERY IN THE FORM OF AN INTEREST IN A RESTRICTED           NOTE OR (IN
CERTAIN LIMITED CIRCUMSTANCES)        A DEFINITIVE NOTE ONLY (IN THE CASE OF
AN INTEREST      IN A RESTRICTED      GLOBAL     NOTE)  IN ACCORDANCE      WITH
APPLICABLE    PROCEDURES    (AS DEFINED IN THE INDENTURE)     AND (IN THE CASE
OF A DEFINITIVE NOTE) UPON RECEIPT BY THE NOTE REGISTRAR         OF A TRANSFER
CERTIFICATE    BY THE TRANSFEROR     AND THE TRANSFEREE      SUBSTANTIALLY    IN
THE FORM SPECIFIED IN THE INDENTURE.

THIS NOTE (OR AN INTEREST      HEREIN) MAY NOT BE TRANSFERRED      UNLESS,
AFTER GIVING EFFECT TO THE TRANSFER, THE TRANSFEREE   IS HOLDING A NOTE
WITH AN ORIGINAL PRINCIPAL     AMOUNT WHICH IS EQUAL TO U.S.$1,000,000  OR
INTEGRAL MULTIPLES  OF U.S.$1,000 IN EXCESS THEREOF.




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TO THE EXTENT    APPLICABLE  TO THE ISSUERS,  THE ISSUERS  MAY IMPOSE
ADDITIONAL  TRANSFER RESTRICTIONS  TO COMPLY WITH THE USA PATRIOT ACT
OR OTHER SIMILAR LAWS AND REGULATIONS,     AND EACH BENEFICIAL  OWNER
OF A NOTE AGREES TO COMPLY WITH SUCH TRANSFER RESTRICTIONS.

THE PURCHASER     OF THIS NOTE OR ANY BENEFICIAL      INTEREST HEREIN WILL BE
DEEMED TO UNDERSTAND         AND AGREE THAT IF ANY PURPORTED        TRANSFER OF
THIS NOTE OR ANY BENEFICIAL       INTEREST HEREIN TO A PURCHASER       DOES NOT
COMPLY     WITH   THE REQUIREMENTS        SET FORTH    IN THIS NOTE       OR THE
INDENTURE,   THEN THE PURPORTED TRANSFEROR         OF THIS NOTE OR BENEFICIAL
INTEREST HEREIN SHALL BE REQUIRED TO CAUSE THE PURPORTED             TRANSFEREE
TO SURRENDER       THE TRANSFERRED       NOTE  OR ANY BENEFICIAL        INTEREST
THEREIN IN RETURN FOR A REFUND OF THE CONSIDERATION           PAID THEREFOR BY
SUCH TRANSFEREE      (TOGETHER    WITH INTEREST THEREON)      OR TO CAUSE THE
PURPORTED    TRANSFEREE    TO DISPOSE OF SUCH NOTE OR BENEFICIAL        INTEREST
PROMPTLY    IN ONE OR MORE OPEN MARKET SALES TO ONE OR MORE PERSONS
EACH OF WHOM       SATISFIES   THE REQUIREMENTS     OF THE REPRESENTATIONS,
WARRANTIES      AND COVENANTS       SET FORTH    IN THIS LEGEND,      AND SUCH
PURPORTED    TRANSFEROR      SHALL TAKE, AND SHALL CAUSE SUCH TRANSFEREE
TO TAKE, ALL FURTHER ACTION NECESSARY         OR DESIRABLE,    IN THE JUDGMENT
OF THE ISSUER, TO ENSURE THAT SUCH NOTE OR ANY BENEFICIAL               INTEREST
THEREIN IS HELD BY PERSONS IN COMPLIANCE        THEREWITH.     ANY TRANSFER IN
VIOLATION   OF THE FOREGOING      PROVISIONS  OF THIS NOTE OR THE INDENTURE
WILL BE OF NO FORCE AND EFFECT, WILL BE VOID AB INITIO, AND WILL NOT
OPERATE TO TRANSFER ANY RIGHTS TO THE TRANSFEREE,            NOTWITHSTANDING
ANY INSTRUCTIONS     TO THE CONTRARY TO THE ISSUERS, THE TRUSTEE OR ANY
INTERMEDIARY.




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                                          GEMSTONE CDO VI LTD.
                                         GEMSTONE CDO VI CORP.

     PERMANENT               REGULATION      S GLOBAL      CLASS [A-l] [A-2] [BI [C] [D] [E] NOTE

                                                representing

          Up to U.S.$[___]      CLASS [A-1][A-Z][B][C][D][E]      NOTES DUE AUGUST            2046


                                                                    U.S.$   Principal amount      currently
                                                                            shown on Appendix     1 hereto.
ISIN No. [__]
Certificate No. [__

                Gemstone CDO VI Ltd., an exempted company with limited liability incorporated
under the laws of Cayman Islands (the "Issuer"),       and Gemstone CDO VI Corp., a corporation
organized under the laws of the State of Delaware (the "Co-Issuer"     and, together with the Issuer,
the "Co-Issuers"),     for value received, hereby promise to pay to Cede & Co., or registered
assigns, upon surrender hereof the original principal amount shown on Appendix 1 or such
amount as shall be the outstanding         principal amount hereof after (a) adding the aggregate
principal amount of each Restricted Global Class [A-1][A-2][B][C][D][E]           Note or Definitive
Class [A-1 ][A-2] [B] [C] [D] [E] Note surrendered in exchange for a portion or portions hereof and
(b) subtracting     the aggregate   principal amount of each Restricted     Global Class [A-1][A-
2][B][C][D][E]     Note or Definitive Class [A-1][A-2][B][C][D][E]   Note issued in exchange for a
portion or portions hereof and (iii) any principal payments made in accordance              with the
provisions hereof and the Indenture on or prior to the August 2046 Distribution            Date (the
"Stated Maturity").

                This is one of the U.S.$[___] Class [A-1] [A-2] [B] [C] [D] [E] Notes due August
2046 (the "Class [A-l] [A-21 [BI [el [DI [El Notes") issued under an Indenture, dated as of August
17, 2006 (the "Indenture"),       among the Co-Issuers      and Deutsche    Bank Trust Company
Americas, as trustee (the "Trustee").       Authorized under the Indenture are the $446,250,000
Class A-1 Floating Rate Notes Due August 2046, $78,750,000         Class A-2 Floating Rate Notes
Due August 2046, $66,500,000       Class B Floating Rate Notes Due August 2046, $26,000,000
Class C Floating Rate Deferrable Interest Notes Due August 2046, $35,250,000 Class D Floating
Rate Deferrable    Interest Notes Due August 2046 and $10,500,000          Class E Floating Rate
Deferrable Interest Notes Due August 2046 (collectively, the "Notes"). The Notes will be issued
on the Closing Date pursuant to the Indenture.

               Reference    is hereby made to the terms and conditions         of Class [A-1][A-
2][B][C][D][E]   Notes set forth in the Indenture. Such provisions shall for all purposes have the
same effect as though fully set forth herein.

                 Capitalized     terms used herein   and not otherwise   defined   shall have the meanings
set forth in the Indenture.




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               Interests in this Permanent Regulation      S Global Class [A-1][A-2][B][C][D][E]
Note may be transferred or exchanged subject to the terms of this Permanent Regulation               S
Global Class [A- 1] [A-2][B] [C] [D] [E] Note and the provisions of the Indenture.

                  On an exchange of the whole of this Permanent Regulation S Global Class [A-
1] [A-2] [B] [C] [D] [E] Note, this Permanent Regulation S Global Class [A-1][A-2][B][C][D][E]
Note shall be surrendered to the Principal Paying Agent. On an exchange of part only of this
Permanent Regulation S Global Class [A-1][A-2][B][C][D][E]       Note, details of such exchange
shall be entered by the Principal Paying Agent on Appendix 1 hereto, whereupon the principal
amount shall be reduced for all purposes by the amount so exchanged and endorsed.

               This Permanent Regulation S Global Class [A-1][A-2][B][C][D][E]       Note has the
benefit of and is issued pursuant to the terms of the Indenture which is incorporated herein by
reference.

               Interest on the Class [A-1 ][A-2] [B] [C] [D] [E] Notes will be payable quarterly in
arrears on each Distribution Date to the Holders of such Class [A-1] [A-2] [B] [C] [D] [E] Notes. A
"Distribution   Date" will be the 17th day of each February, May, August, and November
commencing on November 17, 2006, provided, however, that if any such date shall fall on a day
which is not a Business Day, the Distribution Date shall be the next succeeding Business Day

               The Class [A-1][A-2][B][C][D][E]    Notes will bear interest at the "Class [A-1][A-
2][B][C][D][E]  Note Interest Rate", which, for each Interest Period, is a per annum rate equal to
the sum of LIBOR plus [__]%.

                  On each Distribution   Date, principal will be payable    in accordance     with the
priority of distribution provisions set forth in the Indenture.

                  Unless the certificate of authentication    hereon has been executed by manual
signature by or on behalf of the Trustee, this Permanent Regulation S Global Class [A-1][A-
2] [B] [C] [D] [E] Note shall not be valid or obligatory for any purpose.

                   This Permanent Regulation S Global Class [A- 1][A-2] [B] [C] [D] [E] Note does not
represent    or evidence an interest in or obligation of, and is not guaranteed by, the Trustee.




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                     1N WITNESS     WHEREOF,    the Co-Issuers   have caused this instrument    to be duly
executed.




                                                  GEMSTONE        CDO VI LTD.


                                                  By:
                                                        Name:
                                                        Title:




                                                  GEMSTONE        CDO VI CORP.


                                                  By:
                                                        Name:
                                                        Title:




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                                CERTIFICATE     OF AUTHENTICATION



         This is the Permanent Regulation      S Global Class [A-1][A-2][B][C][D][E]   Note referred
to in the within mentioned Indenture.




                                                 DEUTSCHE BANK TRUST             COMPANY
                                                     AMERICAS,
                                                     as Authenticating Agent



                                                 By:
                                                       Authorized   Signatory




Dated:   August     17, 2006




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                                              APPENDIX     1




           DATE                          PRINCIPAL   AMOUNT               AGGREGATE
                                                                      PRINCIPAL     AMOUNT



                                   INCREASE              DECREASE




     August     17, 2006                                                   u.s.$[__]




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                                                                                            EXHIBIT   A-3


            [FORM          OF RESTRICTED    GLOBAL   CLASS   [A-l]   [A-2] [B] [C] [D] [E] NOTE]



THIS NOTE HAS NOT BEEN AND WILL NOT BE REGISTERED                      UNDER    THE
SECURITIES     ACT OF 1933, AS AMENDED       (THE "SECURITIES      ACT"),  OR THE
SECURITIES     LAWS OF ANY STATE OF THE UNITED             STATES OR ANY OTHER
JURISDICTION,    AND MAY BE RESOLD, PLEDGED OR OTHERWISE             TRANSFERRED
ONLY (A) (1) TO A PERSON WHOM THE SELLER REASONABLY                 BELIEVES   IS A
"QUALIFIED     INSTITUTIONAL   BUYER"   WITHIN THE MEANING          OF RULE 144A
UNDER    THE SECURITIES      ACT ("RULE    144A"), PURCHASING       FOR ITS OWN
ACCOUNT,    TO WHOM NOTICE IS GIVEN THAT THE RESALE, PLEDGE OR OTHER
TRANSFER IS BEING MADE IN RELIANCE ON THE EXEMPTION              FROM SECURITIES
ACT REGISTRATION       PROVIDED BY RULE 144A OR (2) TO A NON-U.S. PERSON IN
AN OFFSHORE TRANSACTION        IN ACCORDANCE      WITH RULE 904 OF REGULATION
S UNDER THE SECURITIES ACT ("REGULATION         S"), (B) IN COMPLIANCE    WITH THE
CERTIFICATION      AND OTHER REQUIREMENTS         SPECIFIED    IN THE INDENTURE
REFERRED      TO HEREIN    AND (C) IN ACCORDANCE           WITH ANY APPLICABLE
SECURITIES     LAWS OF ANY STATE OF THE UNITED STATES AND ANY OTHER
RELEVANT JURISDICTION.

NEITHER   OF THE ISSUERS HAS BEEN REGISTERED          UNDER THE INVESTMENT
COMPANY ACT OF 1940, AS AMENDED (THE "INVESTMENT           COMPANY   ACT"). NO
TRANSFER OF THIS NOTE (OR ANY INTEREST HEREIN) MAY BE MADE (AND NONE
OF THE ISSUERS, THE TRUSTEE OR THE NOTE REGISTRAR WILL RECOGNIZE           ANY
SUCH TRANSFER)    IF (A) SUCH TRANSFER    WOULD BE MADE TO A TRANSFEREE
WHO IS A U.S. RESIDENT (WITHIN THE MEANING OF THE INVESTMENT         COMPANY
ACT) BUT IS NOT A "QUALIFIED PURCHASER"       AS DEFINED IN SECTION 2(a)(51)(a)
OF   THE    INVESTMENT       COMPANY      ACT    AND    RELATED     RULES,      A
"KNOWLEDGEABLE      EMPLOYEE"    WITH RESPECT     TO THE ISSUER (WITHIN THE
MEANING    OF RULE 3c-5 UNDER       THE INVESTMENT      COMPANY    ACT) OR A
COMPANY    EACH OF WHOSE BENEFICIAL       OWNERS IS A QUALIFIED    PURCHASER
OR   A   KNOWLEDGEABLE         EMPLOYEE     (COLLECTIVELY,     A   "QUALIFIED
PURCHASER")    TAKING DELIVERY     OF THIS NOTE (OR INTEREST HEREIN) IN THE
FORM OF A RESTRICTED      NOTE, (B) SUCH TRANSFER WOULD HAVE THE EFFECT
OF REQUIRING    EITHER OF THE ISSUERS TO REGISTER          AS AN INVESTMENT
COMPANY    UNDER THE INVESTMENT        COMPANY     ACT OR (C)SUCH    TRANSFER
WOULD BE MADE TO A TRANSFEREE         WHO IS A U.S. RESIDENT THAT IS A FLOW-
THROUGH   INVESTMENT   VEHICLE   OTHER THAN A QUALIFYING    INVESTMENT
VEHICLE (EACH AS DEFINED IN THE INDENTURE)    WHICH TAKES DELIVERY    OF
THIS NOTE (OR INTEREST HEREIN) IN THE FORM OF A RESTRICTED NOTE.

IN ADDITION, NO TRANSFER OF THIS NOTE (OR ANY INTEREST HEREIN) MAY BE
MADE (AND NEITHER THE TRUSTEE NOR THE NOTE REGISTRAR WILL RECOGNIZE
ANY SUCH TRANSFER)   IF SUCH TRANSFER WOULD BE MADE TO A TRANSFEREE



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THAT IS (A) A DEALER DESCRIBED IN PARAGRAPH      (a)(1)(ii) OF RULE 144A WHICH
OWNS AND INVESTS ON A DISCRETIONARY     BASIS LESS THAN U.S.$25,000,000           IN
SECURITIES  OF ISSUERS THAT ARE NOT AFFILIATED        PERSONS OF THE DEALER
OR (B) A PLAN REFERRED TO IN PARAGRAPH     (a)(1)(i)(D) OR (a)(1)(i)(E) OF RULE
144A OR A TRUST FUND REFERRED TO IN PARAGRAPH            (a)(1)(i)(F) OF RULE 144A
THAT HOLDS THE ASSETS OF SUCH A PLAN, UNLESS INVESTMENT                  DECISIONS
WITH RESPECT TO THE PLAN ARE MADE SOLELY BY THE FIDUCIARY,                TRUSTEE
OR SPONSOR OF SUCH PLAN.

EACH        ORIGINAL           PURCHASER      AND   TRANSFEREE     WILL   BE   DEEMED      TO
REPRESENT   AND   WARRANT)                    THAT  EITHER  (A) IT IS NOT   A PLAN,   A
GOVERNMENTAL    OR CHURCH                  PLAN WHICH IS SUBJECT TO ANY FEDERAL, STATE
OR LOCAL    LAW   THAT  IS                  SIMILAR  TO THE PROHIBITED    TRANSACTION
PROVISIONS OF SECTION 406                  OF ERISA OR SECTION 4975 OF THE CODE, OR AN
ENTITY WHICH IS DEEMED TO                  HOLD THE ASSETS OF ANY SUCH PLAN PURSUANT
TO 29 C.F.R. SECTION 2510.3-101, OR (B) ITS PURCHASE AND OWNERSHIP   OF SUCH
NOTE WILL NOT RESULT IN A NON-EXEMPT          PROHIBITED TRANSACTION  UNDER
SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE (OR, IN THE CASE OF A
GOVERNMENTAL       OR CHURCH PLAN, ANY SUCH SIMILAR U.S. FEDERAL, STATE
OR LOCAL LAW).

EACH PURCHASER    OF THIS NOTE WILL BE DEEMED     TO HAVE MADE THE
APPLICABLE REPRESENTATIONS  AND AGREEMENTS  SET FORTH IN THIS LEGEND.
THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN MAY BE TRANSFERRED    TO A
PERSON WHO TAKES DELIVERY IN THE FORM OF AN INTEREST IN A REGULATION
S NOTE OR (IN CERTAIN LIMITED CIRCUMSTANCES)       A DEFINITIVE  NOTE ONLY
(IN THE CASE OF AN INTEREST        IN A REGULATION     S GLOBAL    NOTE)  IN
ACCORDANCE    WITH APPLICABLE   PROCEDURES   (AS DEFINED IN THE INDENTURE)
AND (IN THE CASE OF A DEFINITIVE        NOTE) UPON RECEIPT     BY THE NOTE
REGISTRAR   OF A TRANSFER     CERTIFICATE   BY THE TRANSFEROR      AND THE
TRANSFEREE   SUBSTANTIALLY   IN THE FORM SPECIFIED IN THE INDENTURE.
THIS NOTE (OR AN INTEREST      HEREIN)   MAY NOT BE TRANSFERRED         UNLESS,
AFTER GIVING EFFECT TO THE TRANSFER, THE TRANSFEREE        IS HOLDING A NOTE
WITH AN ORIGINAL PRINCIPAL AMOUNT WHICH IS EQUAL TO U.S.$1,000,000           OR
INTEGRAL MULTIPLES OF U.S.$1,000 IN EXCESS THEREOF.
TO THE EXTENT      APPLICABLE  TO THE ISSUERS,    THE ISSUERS    MAY IMPOSE
ADDITIONAL    TRANSFER RESTRICTIONS    TO COMPLY WITH THE USA PATRIOT ACT
OR OTHER SIMILAR LAWS AND REGULATIONS,         AND EACH BENEFICIAL       OWNER
OF A NOTE AGREES TO COMPLY WITH SUCH TRANSFER RESTRICTIONS.
THE PURCHASER     OF THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN WILL BE
DEEMED TO UNDERSTAND       AND AGREE THAT IF ANY PURPORTED       TRANSFER OF
THIS NOTE OR ANY BENEFICIAL     INTEREST HEREIN TO A PURCHASER       DOES NOT
COMPLY     WITH THE REQUIREMENTS        SET FORTH    IN THIS NOTE      OR THE
INDENTURE,   THEN THE PURPORTED     TRANSFEROR   OF THIS NOTE OR BENEFICIAL
INTEREST HEREIN SHALL BE REQUIRED TO CAUSE THE PURPORTED          TRANSFEREE
TO SURRENDER      THE TRANSFERRED      NOTE OR ANY BENEFICIAL         INTEREST




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THEREIN        IN RETURN        FOR A REFUND    OF THE CONSIDERATION     PAID THEREFOR     BY
SUCH TRANSFEREE     (TOGETHER   WITH INTEREST THEREON)    OR TO CAUSE THE
PURPORTED    TRANSFEREE   TO DISPOSE OF SUCH NOTE OR BENEFICIAL    INTEREST
PROMPTLY   IN ONE OR MORE OPEN MARKET SALES TO ONE OR MORE PERSONS
EACH OF WHOM SATISFIES       THE REQUIREMENTS    OF THE REPRESENTATIONS,
WARRANTIES     AND COVENANTS      SET FORTH   IN THIS LEGEND,    AND SUCH
PURPORTED    TRANSFEROR   SHALL TAKE, AND SHALL CAUSE SUCH TRANSFEREE
TO TAKE, ALL FURTHER ACTION NECESSARY       OR DESIRABLE, IN THE JUDGMENT
OF THE ISSUER, TO ENSURE THAT SUCH NOTE OR ANY BENEFICIAL          INTEREST
THEREIN IS HELD BY PERSONS IN COMPLIANCE      THEREWITH.  ANY TRANSFER IN
VIOLATION   OF THE FOREGOING    PROVISIONS OF THIS NOTE OR THE INDENTURE
WILL BE OF NO FORCE AND EFFECT, WILL BE VOID AB INITIO, AND WILL NOT
OPERATE TO TRANSFER ANY RIGHTS TO THE TRANSFEREE,   NOTWITHSTANDING
ANY INSTRUCTIONS  TO THE CONTRARY TO THE ISSUERS, THE TRUSTEE OR ANY
INTERMEDIARY.

IF, NOTWITHSTANDING      THE RESTRICTIONS       SET FORTH IN THIS NOTE OR THE
INDENTURE,    EITHER OF THE ISSUERS DETERMINES         THAT ANY HOLDER OF THIS
RESTRICTED    NOTE OR AN INTEREST HEREIN (I) IS A U.S. PERSON AND (II) IS NOT
BOTH A QUALIFIED       INSTITUTIONAL      BUYER    (OR, IN RESPECT     OF CERTAIN
ORIGINAL    PURCHASERS,    AN INSTITUTIONAL       ACCREDITED     INVESTOR)  AND A
QUALIFIED    PURCHASER,   THE ISSUERS SHALL REQUIRE,          BY NOTICE TO SUCH
HOLDER, AS THE CASE MAY BE, THAT SUCH HOLDER SELL ALL OF ITS RIGHT,
TITLE AND INTEREST TO THIS NOTE (OR INTEREST HEREIN) TO A PERSON THAT
IS (1) A NON-U.S. PERSON IN A TRANSFER FOR AN INTEREST IN A REGULATION            S
NOTE     OR (2) A QUALIFIED        INSTITUTIONAL      BUYER    AND    A QUALIFIED
PURCHASER,     WITH SUCH SALE TO BE EFFECTED WITHIN 30 DAYS AFTER NOTICE
OF SUCH SALE REQUIREMENT        IS GIVEN.   IF SUCH HOLDER FAILS TO EFFECT THE
TRANSFER     REQUIRED    WITHIN     SUCH   30-DAY    PERIOD,   (X) UPON WRITTEN
DIRECTION    FROM THE COLLATERAL         MANAGER     OR THE ISSUER, THE TRUSTEE
SHALL, AND IS HEREBY        IRREVOCABLY      AUTHORIZED      BY SUCH HOLDER TO,
CAUSE ITS INTEREST IN THIS NOTE TO BE TRANSFERRED             IN A COMMERCIALLY
REASONABLE    SALE (CONDUCTED    BY AN INVESTMENT   BANK SELECTED BY THE
TRUSTEE WITH THE CONSENT OF THE COLLATERAL        MANAGER IN ACCORDANCE
WITH SECTION 9-610(b) OF THE UCC AS APPLIED TO SECURITIES   THAT ARE SOLD
ON A RECOGNIZED    MARKET OR THAT MAY DECLINE SPEEDILY IN VALUE) TO A
PERSON THAT CERTIFIES TO THE TRUSTEE, THE ISSUERS AND THE COLLATERAL
MANAGER, IN CONNECTION     WITH SUCH TRANSFER, THAT SUCH PERSON IS (1) A
NON-U.S. PERSON IN A TRANSFER FOR AN INTEREST IN A REGULATION       S NOTE
OR   (2) BOTH   A QUALIFIED    INSTITUTIONAL   BUYER    AND   A QUALIFIED
PURCHASER,   AND (Y) PENDING SUCH TRANSFER, NO FURTHER PAYMENTS WILL
BE MADE IN RESPECT OF THE INTEREST IN THIS NOTE, AND THE INTEREST IN
THIS NOTE SHALL NOT BE DEEMED TO BE OUTSTANDING        FOR THE PURPOSE OF
ANY VOTE OR CONSENT OF THE NOTEHOLDERS.




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                                      GEMSTONE        CDO VI LTD.
                                     GEMSTONE        CDO VI CORP.

                   RESTRICTED       GLOBAL     CLASS     [A-I] [A-2] [B] [C] [D] [E] NOTE

                                               representing

                                             Up to U.S.$[__]
                       CLASS [a- 1][A-2][B][C][D][E] NOTES DUE AUGUST 2046


                                                                     U.S.$      Principal amount currently
                                                                             shown on Appendix 1 hereto.


CUSIP No. [__l
Certificate No. [_]

                 Gemstone CDO VI Ltd., an exempted company with limited liability incorporated
under the laws of Cayman Islands (the "Issuer"),     and Gemstone CDO VI Corp., a corporation
organized under the laws of the State of Delaware (the "Co-Issuer"   and, together with the Issuer,
the "Co-Issuers"),    for value received, hereby promise to pay to Cede & Co., or registered
assigns, upon surrender hereof the original principal amount shown on Appendix           1 or such
amount as shall be the outstanding       principal amount hereof after (a) adding the aggregate
principal amount of each Regulation S Global Class [A-1 ] [A-2][B] [C] [D] [E] Note, surrendered
in exchange for a portion or portions hereof and (b) subtracting       (i) the aggregate principal
amount of each Definitive Class [A-1][A-2][B][C][D][E]     Note issued in exchange for a portion
or portions hereof, (ii) the aggregate principal amount of each Regulation S Global Class [A-
 1][A-2][B][C][D][E]    Note, issued in exchange for a portion or portions hereof and (iii) any
principal payments made in accordance with the provisions hereof and the Indenture on or prior
to the August 2046 Distribution Date (the "Stated Maturity").

               This is one of the U.S.$[__]       Class [A-1][A-2][B][C][D][E]     Notes due August
2046 (the "Class [A-11 [A-21 [BI [CI [DI [El Notes") issued under an Indenture, dated as of August
17, 2006 (the "Indenture"),       among the Co-Issuers       and Deutsche Bank Trust Company
Americas, as trustee (the "Trustee").   Authorized under the Indenture are the $446,250,000     Class
A-1 Floating Rate Notes Due August 2046, $78,750,000           Class A-2 Floating Rate Notes Due
August 2046, $66,500,000 Class B Floating Rate Notes Due August 2046, $26,000,000 Class C
Floating Rate Deferrable Interest Notes Due August 2046, $35,250,000           Class D Floating Rate
Deferrable Interest Notes Due August 2046 and $10,500,000          Class E Floating Rate Deferrable
Interest Notes Due August 2046 (collectively, the "Notes"). The Notes will be issued on the
Closing Date pursuant to the Indenture.

                Reference   is hereby made to the terms and conditions         of Class [A-1][A-
2][B][C][D][E]   Notes set forth in the Indenture. Such provisions shall for all purposes have the
same effect as though fully set forth herein.




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                 Capitalized     terms used herein   and not otherwise   defined   shall have the meanings
set forth in the Indenture.

               Interests in this Restricted Global Class [A-1] [A-2] [B] [C] [D] [E] Note may be
transferred or exchanged subject to the terms of this Restricted Class [A-1][A-2][B][C][D][E]
Note and the provisions of the Indenture.

               On an exchange of the whole of this Restricted Class [A-1][A-2][B][C][D][E]
Note, this Restricted Global Class [A-1][A-2][B][C][D][E]       Note shall be surrendered to the
Principal Paying Agent. On an exchange of part only of this Restricted Global Class [A-1][A-
2][B][C][D][E]   Note, details of such exchange shall be entered by the Principal Paying Agent on
Appendix 1 hereto, whereupon the principal amount shall be reduced for all purposes by the
amount so exchanged and endorsed.

                This Restricted Global Class [A-1][A-2][B][C][D][E]           Note has the benefit of and
is issued pursuant to the terms of the Indenture which is incorporated        herein by reference.

               Interest on the Class [A-1][A-2][B][C][D][E]    Notes will be payable quarterly in
arrears on each Distribution Date to the Holders of such Class [A-1][A-2][B][C][D][E]    Notes. A
"Distribution   Date" will be the 17th day of each February, May, August, and November
commencing on November 17, 2006, provided, however, that if any such date shall fall on a day
which is not a Business Day, the Distribution Date shall be the next succeeding Business Day

               The Class [A-1][A-2][B][C][D][E]    Notes will bear interest at the "Class [A-1][A-
2][B][C][D][E]  Note Interest Rate", which, for each Interest Period, is a per annum rate equal to
the sum of LIBOR plus [___]%.

                 Except in connection with an Auction Call Redemption, an Optional Redemption,
a Mandatory Redemption, a Tax Redemption, a Rating Confirmation Failure or the occurrence of
an Event of Default and the acceleration of the Notes (as more fully described in the Indenture),
no principal payments will be made on any of the Notes during the Reinvestment          Period.   On
each Distribution Date after the Reinvestment       Period, principal will be payable in accordance
with the priority of distribution provisions set forth in the Indenture.

               Unless the certificate of authentication  hereon has been executed by manual
signature by or on behalf of the Trustee, this Restricted Global Class [A-1][A-2][B][C][D][E]
Note shall not be valid or obligatory for any purpose.

                   This Restricted Global Class [A-1][A-2][B][C][D][E]       Note does not represent     or
evidence     an interest in or obligation of, and is not guaranteed by, the Trustee.




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                    IN WITNESS     WHEREOF,    the Co-Issuers   have caused this instrument    to be duly
executed.




                                                 GEMSTONE        CDO VI LTD.


                                                 By:
                                                       Name:
                                                       Title:



                                                 GEMSTONE        CDO VI CORP.



                                                 By:
                                                       Name:
                                                       Title:




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                                 CERTIFICATE      OF AUTHENTICATION


        This is the Restricted     Global Class [A-1] [A-2] [B] [C] [D] [E] Note referred to in the within
mentioned Indenture.




                                                   DEUTSCHE BANK TRUST              COMPANY
                                                       AMERICAS,
                                                       as Trustee




                                                   By:
                                                         Authorized   Signatory




Dated:    August     17, 2006




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                                               APPENDIX     1




            DATE                         PRINCIPAL   AMOUNT               AGGREGATE
                                                                      PRINCIPAL     AMOUNT



                                    INCREASE              DECREASE




     August     17, 2006                                                   u.s.$ [_]




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                                                                                                                   EXHIBIT        A-4

                     [FORM OF DEFINITIVE                    CLASS [a- 1] [A-2] [B] [C] [D] [E]] NOTE]



THIS      NOTE        HAS        NOT      BEEN        AND          WILL       NOT    BE    REGISTERED              UNDER      THE
SECURITIES    ACT OF 1933, AS AMENDED        (THE "SECURITIES   ACT"), OR THE
SECURITIES    LAWS OF ANY STATE OF THE UNITED          STATES OR ANY OTHER
JURISDICTION,   AND MAY BE RESOLD, PLEDGED OR OTHERWISE           TRANSFERRED
ONLY (A) (1) TO A PERSON WHOM THE SELLER REASONABLY              BELIEVES  IS A
"QUALIFIED    INSTITUTIONAL    BUYER"   WITHIN THE MEANING       OF RULE 144A
UNDER    THE SECURITIES     ACT ("RULE     144A"), PURCHASING    FOR ITS OWN
ACCOUNT,    TO WHOM NOTICE IS GIVEN THAT THE RESALE, PLEDGE OR OTHER
TRANSFER    IS BEING MADE IN RELIANCE ON THE EXEMPTION        FROM SECURITIES
ACT REGISTRATION      PROVIDED   BY RULE 144A OR (2) TO A NON-U.S. PERSON IN
AN OFFSHORE TRANSACTION        IN ACCORDANCE     WITH RULE 904 OF REGULATION
S UNDER THE SECURITIES ACT ("REGULATION S"), (B) IN COMPLIANCE  WITH THE
CERTIFICATION   AND OTHER REQUIREMENTS    SPECIFIED    IN THE INDENTURE
REFERRED    TO HEREIN  AND (C) IN ACCORDANCE       WITH ANY APPLICABLE
SECURITIES   LAWS OF ANY STATE OF THE UNITED STATES AND ANY OTHER
RELEVANT JURISDICTION.

NEITHER         OF        THE    ISSUERS           HAS      BEEN        REGISTERED         UNDER        THE       INVESTMENT
COMPANY           ACT OF 1940, AS AMENDED  (THE "INVESTMENT    COMPANY                                               ACT"). NO
TRANSFER          OF THIS NOTE (OR ANY INTEREST   HEREIN)  MAY BE MADE                                              (AND NONE
OF THE       ISSUERS,           THE    TRUSTEE           OR THE        NOTE    REGISTRAR         WILL       RECOGNIZE         ANY
SUCH      TRANSFER)              IF (A)   SUCH        TRANSFER            WOULD        BE MADE         TO    n    TRANSFEREE
WHO IS A U.S. RESIDENT (WITHIN THE MEANING OF THE INVESTMENT COMPANY
ACT)     BUT     IS NOT A "QUALIFIED    PURCHASER"     AS DEFINED   IN SECTION   2(a)(51)(A)
OF       THE        INVESTMENT       COMPANY       ACT    AND     RELATED      RULES,        A
"KNOWLEDGEABLE                        EMPLOYEE"            WITH        RESPECT        TO   THE    ISSUER          (WITHIN     THE
MEANING            OF      RULE        3c-5        UNDER         THE      INVESTMENT           COMPANY             ACT)      OR    A
COMPANY           EACH          OF WHOSE            BENEFICIAL            OWNERS        IS A QUALIFIED             PURCHASER
OR   A   KNOWLEDGEABLE         EMPLOYEE                                     (COLLECTIVELY,                  A    "QUALIFIED
PURCHASER")   TAKING   DELIVERY    OF THIS                                 NOTE (OR INTEREST                 HEREIN)   IN THE
FORM       OF A RESTRICTED                    NOTE,       (B)    SUCH     TRANSFER         WOULD        HAVE       THE    EFFECT
OF     REQUIRING            EITHER            OF    THE         ISSUERS       TO    REGISTER      AS     AN       INVESTMENT
COMPANY    UNDER                  THE INVESTMENT                    COMPANY     ACT OR (C)SUCH                       TRANSFER
WOULD   BE MADE                  TO A TRANSFEREE                   WHO IS A U.S. RESIDENT  THAT                     IS A FLOW-
THROUGH            INVESTMENT                 VEHICLE            OTHER        THAN    A    QUALIFYING             INVESTMENT
VEHICLE  (EACH  AS DEFINED    IN THE INDENTURE)  WHICH    TAKES                                                   DELIVERY        OF
THIS NOTE (OR INTEREST   HEREIN)  IN THE FORM OF A RESTRICTED                                                    NOTE.


IN ADDITION, NO TRANSFER OF THIS NOTE (OR ANY INTEREST HEREIN) MAY BE
MADE (AND NEITHER THE TRUSTEE NOR THE NOTE REGISTRAR WILL RECOGNIZE
ANY SUCH TRANSFER)   IF SUCH TRANSFER WOULD BE MADE TO A TRANSFEREE



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THAT        IS (A) A DEALER       DESCRIBED          IN PARAGRAPH          (a)(1)(ii)    OF RULE        144A   WHICH
OWNS    AND         INVESTS   ON A DISCRETIONARY  BASIS LESS THAN                               U.S.$25,000,000 IN
SECURITIES           OF ISSUERS  THAT ARE NOT AFFILIATED   PERSONS                              OF THE DEALER
OR    (B)    A PLAN        REFERRED      TO   IN PARAGRAPH           (a)(1)(i)(D)       OR   (a)(1)(i)(E)   OF RULE
144A OR A TRUST  FUND REFERRED  TO IN PARAGRAPH                                      (a)(1)(i)(F) OF RULE   144A
THAT  HOLDS  THE ASSETS  OF SUCH A PLAN,  UNLESS                                    INVESTMENT       DECISIONS
WITH  RESPECT   TO THE PLAN                   ARE    MADE    SOLELY       BY THE         FIDUCIARY,         TRUSTEE
OR SPONSOR    OF SUCH PLAN.


EACH         ORIGINAL         PURCHASER             AND     TRANSFEREE              WILL      BE      DEEMED        TO
REPRESENT             AND      WARRANT)         THAT        EITHER      (A)     IT      IS   NOT       A    PLAN,      A
GOVERNMENTAL     OR CHURCH   PLAN WHICH   IS SUBJECT   TO ANY                                   FEDERAL,  STATE
OR  LOCAL    LAW   THAT   IS SIMILAR   TO    THE   PROHIBITED                                     TRANSACTION
PROVISIONS    OF SECTION              406 OF ERISA OR SECTION   4975 OF THE CODE, OR AN
ENTITY   WHICH  IS DEEMED               TO HOLD THE ASSETS  OF ANY SUCH PLAN PURSUANT
TO 29 C.F.R.        SECTION  2510.3-101, OR (B) ITS PURCHASE    AND OWNERSHIP                               OF SUCH
NOTE WILL           NOT RESULT     IN A NON-EXEMPT    PROHIBITED   TRANSACTION                                UNDER
SECTION  406 OF ERISA OR SECTION   4975 OF THE CODE  (OR, IN THE CASE OF A
GOVERNMENTAL     OR CHURCH   PLAN,  ANY SUCH SIMILAR   U.S. FEDERAL, STATE
OR LOCAL          LAW).

EACH PURCHASER     OF THIS NOTE WILL BE DEEMED           TO HAVE MADE THE
APPLICABLE  REPRESENTATIONS     AND AGREEMENTS     SET FORTH IN THIS LEGEND.
THIS NOTE OR ANY BENEFICIAL     INTEREST HEREIN MAY BE TRANSFERRED         TO A
PERSON WHO TAKES DELIVERY IN THE FORM OF AN INTEREST IN A REGULATION
S NOTE OR (IN CERTAIN LIMITED CIRCUMSTANCES)         A DEFINITIVE   NOTE ONLY
(IN THE CASE OF AN INTEREST         IN A REGULATION      S GLOBAL     NOTE)   IN
ACCORDANCE    WITH APPLICABLE    PROCEDURES   (AS DEFINED IN THE INDENTURE)
AND (IN THE CASE OF A DEFINITIVE         NOTE) UPON RECEIPT       BY THE NOTE
REGISTRAR   OF A TRANSFER      CERTIFICATE   BY THE TRANSFEROR        AND THE
TRANSFEREE   SUBSTANTIALLY    IN THE FORM SPECIFIED IN THE INDENTURE.
THIS NOTE (OR AN INTEREST      HEREIN) MAY NOT BE TRANSFERRED          UNLESS,
AFTER GIVING EFFECT TO THE TRANSFER, THE TRANSFEREE         IS HOLDING A NOTE
WITH AN ORIGINAL PRINCIPAL AMOUNT WHICH IS EQUAL TO U.S.$1,000,000           OR
INTEGRAL MULTIPLES OF U.S.$1,000 IN EXCESS THEREOF.

TO THE EXTENT      APPLICABLE  TO THE ISSUERS,    THE ISSUERS  MAY IMPOSE
ADDITIONAL    TRANSFER RESTRICTIONS   TO COMPLY WITH THE USA PATRIOT ACT
OR OTHER SIMILAR LAWS AND REGULATIONS,        AND EACH BENEFICIAL   OWNER
OF A NOTE AGREES TO COMPLY WITH SUCH TRANSFER RESTRICTIONS.
THE PURCHASER     OF THIS NOTE OR ANY BENEFICIAL   INTEREST HEREIN WILL BE
DEEMED TO UNDERSTAND       AND AGREE THAT IF ANY PURPORTED    TRANSFER OF
THIS NOTE OR ANY BENEFICIAL     INTEREST HEREIN TO A PURCHASER    DOES NOT
COMPLY     WITH THE REQUIREMENTS        SET FORTH   IN THIS NOTE   OR THE
INDENTURE,   THEN THE PURPORTED TRANSFEROR      OF THIS NOTE OR BENEFICIAL
INTEREST HEREIN SHALL BE REQUIRED TO CAUSE THE PURPORTED TRANSFEREE



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TO SURRENDER     THE TRANSFERRED     NOTE OR ANY BENEFICIAL     INTEREST
THEREIN IN RETURN FOR A REFUND OF THE CONSIDERATION    PAID THEREFOR BY
SUCH TRANSFEREE    (TOGETHER   WITH INTEREST THEREON)  OR TO CAUSE THE
PURPORTED   TRANSFEREE   TO DISPOSE OF SUCH NOTE OR BENEFICIAL  INTEREST
PROMPTLY   IN ONE OR MORE OPEN MARKET SALES TO ONE OR MORE PERSONS
EACH OF WHOM SATISFIES     THE REQUIREMENTS    OF THE REPRESENTATIONS,
WARRANTIES    AND COVENANTS     SET FORTH   IN THIS LEGEND,    AND SUCH
PURPORTED   TRANSFEROR   SHALL TAKE, AND SHALL CAUSE SUCH TRANSFEREE
TO TAKE, ALL FURTHER ACTION NECESSARY    OR DESIRABLE,  IN THE JUDGMENT
OF THE ISSUER, TO ENSURE THAT SUCH NOTE OR ANY BENEFICIAL        INTEREST
THEREIN IS HELD BY PERSONS IN COMPLIANCE    THEREWITH.   ANY TRANSFER IN
VIOLATION  OF THE FOREGOING   PROVISIONS OF THIS NOTE OR THE INDENTURE
WILL BE OF NO FORCE AND EFFECT, WILL BE VOID AB INITIO, AND WILL NOT
OPERATE TO TRANSFER ANY RIGHTS TO THE TRANSFEREE,      NOTWITHSTANDING
ANY INSTRUCTIONS   TO THE CONTRARY TO THE ISSUERS, THE TRUSTEE OR ANY
INTERMEDIARY.

IF, NOTWITHSTANDING       THE RESTRICTIONS      SET FORTH IN THIS NOTE OR THE
INDENTURE,    EITHER OF THE ISSUERS DETERMINES         THAT ANY HOLDER OF THIS
RESTRICTED    NOTE OR AN INTEREST HEREIN (I) IS A U.S. PERSON AND (II) IS NOT
BOTH A QUALIFIED        INSTITUTIONAL     BUYER    (OR, IN RESPECT      OF CERTAIN
ORIGINAL    PURCHASERS,     AN INSTITUTIONAL      ACCREDITED      INVESTOR)  AND A
QUALIFIED    PURCHASER,    THE ISSUERS SHALL REQUIRE,         BY NOTICE TO SUCH
HOLDER, AS THE CASE MAY BE, THAT SUCH HOLDER SELL ALL OF ITS RIGHT,
TITLE AND INTEREST TO THIS NOTE (OR INTEREST HEREIN) TO A PERSON THAT
IS (1) A NON-U.S. PERSON IN A TRANSFER FOR AN INTEREST IN A REGULATION              S
NOTE     OR (2) A QUALIFIED        INSTITUTIONAL      BUYER     AND    A QUALIFIED
PURCHASER,    WITH SUCH SALE TO BE EFFECTED WITHIN 30 DAYS AFTER NOTICE
OF SUCH SALE REQUIREMENT        IS GIVEN.   IF SUCH HOLDER FAILS TO EFFECT THE
TRANSFER     REQUIRED     WITHIN    SUCH   30-DAY    PERIOD,    (X) UPON    WRITTEN
DIRECTION    FROM THE COLLATERAL         MANAGER     OR THE ISSUER, THE TRUSTEE
SHALL, AND IS HEREBY        IRREVOCABLY      AUTHORIZED      BY SUCH HOLDER       TO,
CAUSE ITS INTEREST IN THIS NOTE TO BE TRANSFERRED              IN A COMMERCIALLY
REASONABLE      SALE (CONDUCTED      BY AN INVESTMENT      BANK SELECTED BY THE
TRUSTEE WITH THE CONSENT OF THE COLLATERAL              MANAGER IN ACCORDANCE
WITH SECTION 9-610(b) OF THE UCC AS APPLIED TO SECURITIES THAT ARE SOLD
ON A RECOGNIZED    MARKET OR THAT MAY DECLINE SPEEDILY IN VALUE) TO A
PERSON THAT CERTIFIES TO THE TRUSTEE, THE ISSUERS AND THE COLLATERAL
MANAGER, IN CONNECTION     WITH SUCH TRANSFER, THAT SUCH PERSON IS (1) A
NON-U.S. PERSON IN A TRANSFER FOR AN INTEREST IN A REGULATION     S NOTE
OR (2) BOTH    A QUALIFIED   INSTITUTIONAL  BUYER   AND  A QUALIFIED
PURCHASER,  AND (Y) PENDING SUCH TRANSFER, NO FURTHER PAYMENTS WILL
BE MADE IN RESPECT OF THE INTEREST IN THIS NOTE, AND THE INTEREST IN
THIS NOTE SHALL NOT BE DEEMED TO BE OUTSTANDING    FOR THE PURPOSE OF
ANY VOTE OR CONSENT OF THE NOTEHOLDERS.




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                                     GEMSTONE        CDO VI LTD.
                                    GEMSTONE        CDO VI CORP.

                           DEFINITIVE    CLASS   [A-1I [A-2I [BI [C] [D] [EINOTE

                                              representing

             U.S.$L___] CLASS [A-1][A-2][B][C][D][E]         NOTES DUE AUGUST        2046

                                                                                       U.S. $[__

CUSIP No. [__      ]
Certificate No. L__         1

                 Gemstone CDO VI Ltd., an exempted company with limited liability incorporated
under the laws of Cayman Islands (the "Issuer"),    and Gemstone CDO VI Corp., a corporation
organized under the laws of the State of Delaware (the "Co-Issuer"  and, together with the Issuer,
the "Co-Issuers"),   for value received, hereby promise to pay to [__]      or registered assigns,
upon surrender hereof the principal sum of [__]        United States Dollars (U.S.$ [__])        or
such lesser amount as shall be the outstanding principal amount hereof after subtracting any
principal payments made in accordance with the provisions hereof and the Indenture on or prior
to the August 2046 Distribution Date (the "Stated Maturity").

               This is one of the U.S.$[.__]      Class [A-1][A-2][B][C][D][E]      Notes due August
2046 (the "[Class [A-1I [A-2] [B] [C] [D] [E] Notes") issued under an Indenture, dated as of
August 17, 2006 (the "Indenture"),      among the Co-Issuers and Deutsche Bank Trust Company
Americas, as trustee (the "Trustee").   Authorized under the Indenture are the $446,250,000     Class
A-1 Floating Rate Notes Due August 2046, $78,750,000            Class A-2 Floating Rate Notes Due
August 2046, $66,500,000 Class B Floating Rate Notes Due August 2046, $26,000,000 Class C
Floating Rate Deferrable Interest Notes Due August 2046, $35,250,000           Class D Floating Rate
Deferrable Interest Notes Due August 2046 and $10,500,000           Class E Floating Rate Deferrable
Interest Notes Due August 2046 (collectively,       the "Notes"). The Notes will be issued on the
Closing Date pursuant to the Indenture.

               Reference   is hereby made to the terms and conditions        of Class [A-1][A-2]
[B][C][D][E] Notes set forth in the Indenture.     Such provisions shall for all purposes have the
same effect as though fully set forth herein. Capitalized terms used herein and not otherwise
defined shall have the meanings set forth in the Indenture.

                Title to this Definitive   Class [A-1][A-2][B][C][D][E]      Note shall pass by
registration in the Note Register for the Notes as specified in the Indenture. No service charge
shall be made for exchange or registration of transfer of the Note, but the Co-Issuers may require
payment of a sum sufficient to cover any tax or other governmental    charge payable in connection
therewith.

                Interests in this Definitive Class [A- 1][A-2] [B] [C] [D] [E] Note may be transferred
or exchanged subject to the terms of this Definitive Class [A-1][A-2][B][C][D][E]        Note and the
provisions of the Indenture.


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                    Interest   on the Class    [A-1][A-2][B][C][D][E]         Notes   will be payable    quarterly   in
arrears on each Distribution        Date to the Holders of such Class [A-1][A-2][B][C][D][E]                  Notes. A
"Distribution   Date"    will      be the 17th day of each February,     May, August,        and             November
commencing        on November       17, 2006, provided,     however,      that if any such date   shall fall on a day
which    is not a Business     Day, the Distribution      Date   shall be the next succeeding     Business     Day

               The Class [A-1][A-2][B][C][D][E]    Notes will bear interest at the "Class [A-1][A-
2][B][C][D][E]  Note Interest Rate", which, for each Interest Period, is a per annum rate equal to
the sum of LIBOR plus [__]%.

                 Except in connection with an Auction Call Redemption, an Optional Redemption,
a Mandatory Redemption, a Tax Redemption, a Rating Confirmation Failure or the occurrence of
an Event of Default and the acceleration of the Notes (as more fully described in the Indenture),
no principal payments will be made on any of the Notes during the Reinvestment          Period. On
each Distribution    Date after the Reinvestment    Period, principal will be payable in accordance
with the priority of distribution provisions set forth in the Indenture.

                Unless the certificate of authentication                 hereon has been executed by manual
signature by or on behalf of the Trustee, this Definitive               Class [A- 1] [A-2] [B] [C] [D] [E] Note shall
not be valid or obligatory for any purpose.

                   This Definitive      Class [A-1][A-2][B][C][D][E]     Note does                not   represent    or
evidence     an interest in or obligation of, and is not guaranteed by, the Trustee.




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                    IN WITNESS     WHEREOF,    the Co-Issuers    have caused this instrument    to be duly
executed.




                                                 GEMSTONE         CDO VI LTD.


                                                 By:
                                                       Name:
                                                       Title:




                                                 GEMSTONE         CDO VI CORP.


                                                 By:
                                                       Name:
                                                       Title:]




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                                 CERTIFICATE       OF AUTHENTICATION



       This is one of the Definitive           Class    [A-1][A-2][B][C][D][E]        Notes   referred    to in the
within mentioned Indenture.




                                                       DEUTSCHE BANK TRUST COMPANY
                                                           AMERICAS,
                                                           as Trustee




                                                       By:
                                                             Authorized   Signatory




Dated: August 17, 2006




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                                                                                            EXHIBIT     B-1

                              [FORM OF CLEARANCE           SYSTEM    CERTIFICATE]

                                               CERTIFICATION

                                           GEMSTONE       CDO VI LTD.
                                          GEMSTONE       CDO VI CORP.

                                                   u.s.$[___]
                                    Class []   NOTES DUE AUGUST         2046

                                                (the "Securities")

                  This is to certify that, based solely on certifications we have received in writing,
by tested telex or by electronic transmission from member organizations appearing in our records
as persons being entitled to a portion of the principal amount set forth below (our "Member
Organizations")    substantially to the effect set forth in the Indenture, as of the date hereof, $[___]
principal amount of the above-captioned          securities (i) is owned by persons that are not citizens or
residents of the United States, domestic partnerships, domestic corporations or any estate or trust
the income of which is subject to United States Federal income taxation regardless of its source
("United States persons"), (ii) is owned by United States persons that (a) are foreign branches of
United States financial institutions        (as defined in United States Treasury regulation Section
1.165-12(c)(1)(v)     ("financial institutions")) purchasing for their own account or for resale, or (b)
acquired the Securities through foreign branches of United States financial institutions and who
hold the Securities through such United States financial institutions on the date hereof (and in
either case (a) or (b), each such United States financial institution has agreed, on its own behalf
or though its agent, that we may advise the Issuer or the Issuer's agent that it will comply with
the requirements of Section 165(j)(3)(A), (B) or (C) of the United States Internal Revenue Code
of 1986, as amended, and the Treasury regulations thereunder), or (iii) is owned by United States
or foreign financial institutions for purposes of resale during the restricted period (as defined in
United States Treasury regulation Section 1.163-5(c)(2)(i)(D)(7)),           and to the further effect that
United States or foreign financial institutions described in clause (iii) above (whether or not also
described in clause (i) or (ii)) have certified that they have not acquired the Securities for
purposes of resale, directly or indirectly, to a United States person or to a person within the
United States or its possessions.

               If the Securities are of the category contemplated     in Section 230.903(c)(3)    of
Regulation S under the Securities Act of 1933, as amended (the "Act") then this is also to certify
with respect to the principal amount of Securities set forth above that, except as set forth below,
we have received in writing, by tested telex or by electronic transmission,     from our Member
Organizations  entitled to such portion of such principal amount, certifications    with respect to
such portion, substantially to the effect set forth in the Indenture.

                We further certify (i) that we are not making available herewith for exchange (or,
if relevant, exercise of any rights or collection of any interest) any portion of the Temporary
Global Note excepted in such certifications      and (ii) that as of the date hereof we have not
received any notification from any of our Member Organizations to the effect that the statements


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made by such Member Organizations with respect to any portion                        of the part submitted herewith
for exchange (or, if relevant, exercise of any rights or collection                  of any interest) are no longer
true and cannot be relied upon as the date hereof.

                 We understand that this certification is required in connection with certain tax
laws and, if applicable, certain securities laws of the United States. In connection therewith, if
administrative   or legal proceedings are commenced or threatened in connection with which this
certification is or would be relevant, we irrevocably authorize you to produce this certification to
any interested party in such proceedings.

Dated:



                                                       Yours faithfully,




                                                       [EUROCLEAR       BANK S.A./N.V.,
                                                            as operator of the Euroclear System]

                                                                           or


                                                       [CLEARSTREAM                 BANKING,   soci_t_ anonyme]

                                                       By




*Not earlier than the Certification   Event to which the certification   relates.



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                                                                                          EXHIBIT     B-2

                           [FORM OF CERTIFICATE        OF NON-U.S.   OWNERSHIP]

                                             CERTIFICATION

                                          GEMSTONE CDO VI LTD.
                                         GEMSTONE CDO VI CORP.

                                                 U.S.$[__]

                                  Class [] NOTES DUE AUGUST          2045

                                              (the "Securities")


                 This is to certify that as of the date hereof, and except as set forth below, the
above-captioned     Securities held by you for our account (i) are owned by persons that are not
citizens or residents of the United States, domestic partnerships,      domestic corporations    or any
estate or trust the income of which is subject to United States Federal income taxation regardless
of its source ("United States persons"), (ii) are owned by United States persons that (a) are
foreign branches of a United States financial institution (as defined in United States Treasury
regulation Section 1.165-12(c)(1)(v)     ("financial institutions") purchasing for their own account
or for resale, or (b) acquired the Securities through foreign branches of United States financial
institutions and who hold the Securities through such United States financial institutions on the
date hereof (and in either case (a) or (b), each such United States financial institution hereby
agrees, on its own behalf or through its agent, that you may advise the Issuer or the Issuer's agent
that it will comply with the requirements of Section 165(j)(3)(A), (B) or (C) of the United States
Internal Revenue Code of 1986, as amended, and the Treasury regulations thereunder), or (iii)
are owned by United States or foreign financial institutions for purposes of resale during the
restricted period (as defined in United States Treasury regulation Section 1.163-5(c)(2)(i)(D)(7)),
and in addition if the owner of the Securities is a United States or foreign financial institution
described in clause (iii) above (whether or not also described in clause (i) or (ii)) this is to further
certify that such financial institution has not acquired the Securities for purposes of resale
directly or indirectly to a United States person or to a person within the United States or its
possessions.

                 If the Securities are of the category contemplated  in      Section 230.903(c)(3)      of
Regulation S under the Securities Act of 1933, as amended (the "Act"),       then this is also to certify
that the Securities are beneficially owned by non-U.S, person(s).   As      used in this paragraph the
terms "U.S. person" has the meaning given to it be Regulation S under       the Act.

                As used herein, "United States" means the United States of America (including
the States and the District of Columbia); and its "possessions" include Puerto Rico, the U.S.
Virgin Islands, Guam, American Samoa, Wake Island and the Northern Mariana Islands.

                  We undertake to advise you promptly by tested telex on or prior to the date on
which     you intend to submit your certification relating to the Securities held by you for our



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account in accordance with your operating procedures if any applicable statement herein is not
correct on such date, and in the absence of any such notification it may be assumed that this
certification applies as of such date.

                 This certification excepts and does not relate to               of such interest in
the above Securities in respect of which we are not able to certify and as to which we understand
exchange and delivery of definitive Securities (or, if relevant, exercise of any rights or collection
of any interest) cannot be made until we do so certify.

                 We understand that this certification is required in connection with certain tax
laws and, if applicable, certain securities laws of the United States. In connection therewith, if
administrative or legal proceedings are commenced or threatened in connection with which this
certification is or would be relevant, we irrevocably authorize you to produce this certification to
any interested party in such proceedings.


Dated:                         ,20


By:
      As, or as agent for, the beneficial owner(s)
      of the Securities to which this certificate
      relates




*Not earlier than 15 days prior to the Exchange   Date to which the certification   relates.



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                                                                                    EXHIBIT   C

                                                [Reserved]




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                                                                                                     EXHIBIT      D-1

                    FORM OF TRANSFER CERTIFICATE FOR TRANSFER                              FROM
   DEFINITIVE         OR RESTRICTED GLOBAL NOTE TO REGULATION                              S GLOBAL         NOTE

                                                                                                                [dae]

[Trustee]

                    Re:       Transfer     of $[.                 ] aggregate   principal amount   of
                              beneficial    interests   in the Definitive or Restricted Global Notes
                              (the "Notes")    of Gemstone CDO VI Ltd. (the "Issuer")  and
                              Gemstone CDO VI Corp. (the "Co-Issuer" and together with the
                              Issuer, the "Co-Issuers")


                Reference is hereby made to the Indenture, dated                   as of August 17, 2006, as
amended and supplemented      from time to time (the "Indenture"),                  among the Co-Issuers and
Deutsche Bank Trust Company Americas, as Trustee. Capitalized                      terms used but not defined
herein shall have the meanings given to them in the Indenture.

                This letter relates to U.S. $[.                  .] principal   amount of beneficial
interests in the Definitive or Restricted Global Note(s) (CUSIP No. [.                ]) registered in
the name of [insert name of transferor] (the "Transferor").         The Transferor has requested a
transfer of such beneficial interests for beneficial interests in the Regulation S Global Note in a
like principal amount in the name of the transferee named below (the "Transferee").

                In connection with such request and in respect of              such Notes, the Transferor does
hereby certify that such transfer has been effected in accordance              with the transfer restrictions set
forth in the Indenture and the Notes and pursuant to and in                     accordance   with Rule 904 of
Regulation S, and accordingly the Transferor does hereby certify               that:

                    1.        The offer of the Notes was not made to a person in the United States,

                    2.  [At the time the buy order was originated, the Transferee was outside the
United States]     [The transaction was executed in, on or through the facilities of a designated
offshore securities market and the transaction was not prearranged with a buyer in the United
States."]***




***Insert one of these two provisions,      which come from the definition of "offshore   transaction"   in Regulation
S.



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                This certificate    and the statements    contained   herein are made for your benefit   and
the benefit of the Co-Issuers.

                                                   [Insert name of Transferor]

                                                   By:
                                                         Name:
                                                         Title:


       TRANSFEREE            INFORMATION

Name of Transferee:
Registration Instructions:


Address:




Tax ID No.


Payment
Instructions




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                                                                                          EXHIBIT     D-2

                    FORM OF TRANSFER CERTIFICATE    FOR TRANSFER FROM
                                REGULATION  S GLOBAL NOTE
                        TO DEFINITIVE OR RESTRICTED   GLOBAL NOTE



                                                                                                    [date]

[Trustee]
                    Re:      Transfer   of $[.                ] aggregate   principal amount   of
                             beneficial interests in the Regulation S Global Notes (the "Notes")
                             of Gemstone CDO VI Ltd. (the "Issuer") and Gemstone CDO VI
                             Corp. (the "Co-Issuer",     and together with the Issuer, the "Co-
                             Issuers")

                Reference is hereby made to the Indenture, dated            as of August 17, 2006, as
amended and supplemented      from time to time (the "Indenture"),           among the Co-Issuers and
Deutsche Bank Trust Company Americas, as Trustee. Capitalized               terms used but not defined
herein shall have the meanings given to them in the Indenture.

                 This letter relates to U.S. $[                    .] principal    amount of beneficial
interests in the Regulation S Global Note(s) (CUSIP No. [.                   ]) registered in the name of
[insert name of transferor] (the "Transferor").      The Transferor has requested a transfer of such
beneficial interests for beneficial interests in the Definitive or Restricted Global Note in the name
of the transferee named below (the "Transferee").         Also set forth below or accompanying        this
certificate are the address and taxpayer identification number of the Transferee and registration,
delivery, and payment instructions.

                 In connection with such request and in respect of such Note(s), (i) the Transferor
does hereby certify that such transfer has been effected in accordance             with the transfer
restrictions set forth in the Indenture and the Class [__]Notes and (ii) the Transferee does hereby
certify that:

                 1.     The Transferee understands   that the Class [__] Notes have not been and
will not be registered under the Securities Act and are being sold in a transaction that is exempt
from the registration requirements of the Securities Act.

                2.      (a) Such Note(s) are being transferred in accordance      with Rule 144A
under the Securities Act, (b) the Transferee is acquiring such Note(s) for its own account or one
or more accounts with respect to which it exercises sole investment discretion and (c) each such
account is a "qualified institutional buyer" within the meaning of Rule 144A, in each case, in a
transaction  meeting the requirements     of Rule 144A and in accordance with any applicable
securities laws of any state of the United States or any other jurisdiction.   The Transferee has
such knowledge and experience in financial and business matters as to be capable of evaluating
the merits and risks of its investment in the Class A-l, Class A-2, Class B, Class C, Class D and
Class E Notes, and it is able to bear the economic risk of its investment.

                  3.         The Transferee is not purchasing the Class [] Notes with a view to the
resale, distribution      or other disposition thereof. It understands that an investment in the Class []



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Notes involves certain risks, including the risk of loss of its entire investment in the Class [_]
Notes under certain circumstances.     It has had access to such financial and other information
concerning the Co-Issuers, the Collateral and the Class [_] Notes as it deemed necessary or
appropriate in order to make an informed investment decision with respect to its purchase of the
Class [_] Notes, including an opportunity to ask questions of and request information from the
Co-Issuers.

                  4.       In connection with its acquisition of the Class [__]Notes (provided that no
such representation      is made with respect to the Collateral Manager by any affiliate of the
Collateral Manager): (i) none of the Co-Issuers, the Initial Purchasers or the Collateral Manager
is acting as a fiduciary or financial or investment adviser for it; (ii) it is not relying (for purposes
of making any investment decision or otherwise) upon any advice, counsel or representations
(whether written or oral) of the Co-Issuers, the Initial Purchasers or the Collateral Manager other
than in a current Note Offering Circular for such Class [_] Notes; (iii) none of the Co-Issuers, the
Initial Purchasers or the Collateral Manager have given to it (directly or indirectly through any
other person) any assurance, guarantee, or representation           whatsoever   as to the expected or
projected    success, profitability,    return, performance,  result, effect consequence,     or benefit
(including legal, regulatory, tax, financial, accounting or otherwise) or its purchase or as to the
documentation      for the Class [__] Notes; (iv) it is purchasing the Class [__] Notes with a full
understanding     of all the terms, conditions and risks thereof (economic and otherwise), and it is
capable of assuming and willing to assume (financially and otherwise) those risks; and (v) it is a
sophisticated investor.

               5.     The Transferee, and each account for which it is acquiring the Class [j
Note, is a Qualified Purchaser for the purposes of Section 3(c)(7) of the Investment Company
Act of 1940, as amended.

                6.      The Transferee understands that the Definitive Class [_] Notes will bear
the legend setting forth the transfer restrictions. The Class [] Notes so represented may not at
any time be held by or on behalf of any U.S. Person that is not a Qualified Institutional Buyer
and a Qualified Purchaser.

                7.            As of both the date hereof and the date of transfer,   the Transferee   (check
and initial one box):

      F             No part of the funds being used to pay the purchase price for such Notes
                    constitutes an asset of any "employee benefit plan" (as defined in Section 3(3) of
                    ERISA) or "plan" (as defined in Section 4975(e)(1) of the Code) that is subject to
                    ERISA or Section 4975 of the Code (each a "Plan" and such funds, "Plan
                    Assets") with respect to which "Plan Assets" either Co-Issuer, the Trustee, the
                    Collateral Manager, any swap counterparty or any of their Affiliates is a "party in
                    interest" (as defined in Section 3(14) of ERISA) or a "disqualified person" (within
                    the meaning of Section 4975(c)(2) of the Code);

       F            If part of the funds being used to pay the purchase price for such Notes include
                    "Plan Assets" with respect to which either Co-Issuer, the Trustee, the Collateral
                    Manager, any swap counterparty or any of their Affiliates is a "party in interest"
                    or a "disqualified person," the purchase and holding of such Notes is subject to a
                    statutory or administrative   exemption from the prohibited transaction   rules of
                    ERISA and Section 4975 of the Code.


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               8.        The Transferee will not, at any time, offer to buy or offer to sell the Class
[_] Notes by any form of general solicitation or advertising, including, but not limited to, any
advertisement,  article, notice or other communication    published in any newspaper, magazine or
similar medium or broadcast over television or radio or seminar or meeting whose attendees have
been invited by general solicitations or advertising.

                    This certificate and the statements    contained   herein are made for your benefit and
                    the benefit of the Trust.

                                                    [Insert Name of Transferor]


                                                    By:
                                                          Name:
                                                          Title:



                                                    [Insert Name of Transferee]


                                                    By:
                                                          Name:
                                                          Title:

       TRANSFEREE            INFORMATION

Name of Transferee:
Registration Instructions:


Address:




Tax ID No.


Payment     Instructions




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                                                                                              EXHIBIT     D-3

                                          INVESTOR      CERTIFICATE



                                                                                                        [date]


(1) Deutsche Bank Trust Company             Americas
1761 East St. Andrew Place
Santa Ana, CA 92705-4934

(2) Gemstone CDO VI Ltd.
c/o Maples Finance Limited
P.O. Box 309GT, Ugland House
South Church Street,
George Town
Grand Cayman, Cayman Islands

(3) Gemstone CDO VI Ltd.
c/o Donald J. Puglisi
850 Library Avenue
Newark, DE 19711




          Re:       GEMSTONE        CDO VI Ltd. Notes

Ladies and Gentlemen:

               The undersigned     proposes to purchase the Notes identified below issued by
Gemstone CDO VI Ltd. (the "Issuer")        and Gemstone CDO VI Corp. (the "Co-Issuer"          and,
together with the Issuer, the "Issuers"),  pursuant to that certain Indenture, dated as of August
17, 2006 (the "Indenture"),      between the Issuer, the Co-Issuer     and Deutsche Bank Trust
Company Americas, as Trustee (the "Trustee.").      Capitalized terms used in this letter which are
not defined herein bear the same meanings as in the Indenture. In connection with the proposed
purchase of such Notes the undersigned acknowledges, represents, agrees and confirms that:

   (1) The Notes have not been approved or disapproved by the SEC or any other governmental
authority or agency of any jurisdiction, nor has the SEC or any other governmental  authority or
agency passed upon the accuracy or adequacy of this Offering Circular and any representation  to
the contrary is a criminal offense.

  (2) If required by         the Indenture, it will, prior to any sale, pledge or other transfer by it of any
Note (or any interest        therein), obtain from the transferee and deliver to the Issuers, the Trustee
and the Note Registrar         a duly executed transferee certificate addressed to each of the Issuers, the
Trustee and the Note         Registrar in the form of the relevant exhibit attached to the Indenture and
such other certificates       and other information as the Issuers, the Trustee or the Note Registrar may



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reasonably     require to confirm that the proposed   transfer   substantially   complies   with the transfer
restrictions   set forth in the Indenture.

  (3) No Note (or any interest therein) may be sold, pledged                 or otherwise transferred    in a
denomination of less than the $1,000,000 minimum denomination.

   (4) The Notes have not been registered under the Securities Act and, therefore, cannot be
offered or sold in the United States or to U.S. Persons (as defined in Rule 902(k) under the
Securities Act) unless they are registered under the Securities Act or unless an exemption from
registration is available.  Accordingly, the certificates representing the Notes will bear a legend
stating that such Notes have not been registered under the Securities Act and setting forth certain
of the restrictions on transfer of the Notes described herein. It understands that the Issuers have
no obligation to register any of the Notes under the Securities Act or to comply with the
requirements  for any exemption from the registration requirements   of the Securities Act (other
than to supply information specified in Rule 144A(d)(4) of the Securities Act as required by the
Indenture).

  (5) It (a)(A) is a Qualified Institutional Buyer, and (B) is acquiring the Notes for its own
account for investment purposes and not with a view to the distribution thereof (except in
accordance with Rule 144A) or (b) (A) is not a U.S. Person (as defined in Rule 902(k) under the
Securities Act), (B) is purchasing such Notes for its own account and not for the account or
benefit of a U.S. Person and (C) understands that prior to the end of the Distribution Compliance
Period, interests in a Regulation S Note may be held only through Euroclear or Clearstream.
   (6) It (a) has such knowledge and experience in financial and business matters that it is
capable of evaluating the merits and risks (including for tax, legal, regulatory, accounting and
other financial purposes) of its prospective investment in the Notes, (b) is financially able to bear
such risk, (c) in making such investment is not relying on the advice or recommendations        of the
Initial Purchasers, the Issuer, the Co-Issuer, the Collateral Manager or any of their respective
affiliates (or any representative    of any of the foregoing)     and (d) has determined      that an
investment    in the Notes is suitable and appropriate   for it. It has received, and has had an
adequate opportunity to review the contents of, the Note Offering Circular. It has had access to
such financial and other information concerning the Issuers and the Notes as it has deemed
necessary to make its own independent decision to purchase Notes, including the opportunity, at
a reasonable time prior to its purchase of Notes, to ask questions and receive answers concerning
the Issuers and the terms and conditions of the offering of the Notes.

   (7) No Note (or any interest therein) may be offered, sold, pledged or otherwise transferred
to (a) a transferee acquiring a Restricted Note except (i) to a transferee whom the seller
reasonably believes is a Qualified Institutional Buyer, purchasing for its own account, to whom
notice is given that the resale, pledge or other transfer is being made in reliance on the exemption
from the registration    requirements   of the Securities Act provided by Rule 144A, (ii) to a
transferee that is a Qualified Purchaser,       (iii) to a transferee that is not a Flow-Through
Investment Vehicle (other than a Qualifying Investment Vehicle), (iv) if such transfer is made in
compliance with the certification (if any) and other requirements set forth in the Indenture and
(v) if such transfer is made in accordance with any applicable securities laws of any state of the
United States and any other relevant jurisdiction       or (b) a transferee acquiring an interest in a
Regulation S Note except (i) to a transferee that is a non-U.S. Person acquiring such interest in
an offshore transaction (within the meaning of Regulation S) in accordance with Rule 904 of



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Regulation S, (ii) if such transfer is made in compliance with the certification (if any) and other
requirements set forth in the Indenture and (iii) if such transfer is made in accordance with any
applicable securities laws of any state of the United States and any other relevant jurisdiction.

   (8) It understands that there is no market for Notes and that no assurance can be given as to
the liquidity of any trading market for Notes and that it is unlikely that a trading market for any
of the Notes will develop. It further understands that, although the Initial Purchasers may from
time to time make a market in Notes, the Initial Purchasers are under no obligation to do so and,
following the commencement         of any market-making, it may discontinue the same at any time.
Accordingly,     it must be prepared to hold Notes for an indefinite period of time or until their
maturity.    It further understands that the Notes are limited-recourse  obligations of the Issuers,
payable solely from the Collateral in accordance with the priority of payments set forth in the
Indenture.

   (9) It either (a) is not a U.S. Person (within the meaning of the Investment Company Act) or
(b) is a Qualified Purchaser.    It agrees that no sale, pledge or other transfer of a Note (or any
interest therein) may be made (m) unless such transfer is made to a transferee who, if a U.S.
Person (within the meaning of the Investment Company Act), is a Qualified Purchaser or (n) if
such transfer would have the effect of requiring either of the Issuers to register as an investment
company under the Investment Company Act. If it is a U.S. Person that is an entity that would
be an investment      company but for the exception provided for in Section 3(c)(1) or Section
3(c)(7) of the Investment Company Act (any such entity, an "excepted investment         company"):
(x) all of the beneficial owners of outstanding securities (other than short-term paper) of such
entity (such beneficial     owners determined     in accordance    with Section 3(c)(1)(A)    of the
Investment Company Act) that acquired such securities on or before April 30, 1996 ("pre-
amendment       beneficial   owners");    and (y) all pre-amendment      beneficial  owners of the
outstanding securities (other than short-term paper) of any excepted investment company that,
directly or indirectly, owns any outstanding     securities of such entity, have consented to such
entity's treatment as a Qualified Purchaser in accordance with the Investment Company Act.
   (10) It understands that the Issuer may receive a list of the DTC Participants    holding the Notes
(i.e., beneficial interests in a Global Note) from DTC and any other depository     through which the
Notes (or beneficial interests therein) may be held.

  (11) It purchaser understands that the Issuer may require certification acceptable to it (a) to
permit the Issuer to make payments to it without, or at a reduced rate of, withholding or (b) to
enable the Issuer to qualify for a reduced rate of withholding in any jurisdiction from or through
which the Issuer receives payments on its assets.      The purchaser agrees to provide any such
certification that is requested by the Issuer.

   (12) It agrees by acquisition of the Note or Notes that it will treat the Notes as indebtedness of
Issuer for purposes of U.S. federal income, state and local income and franchise tax and any
other income taxes, acknowledges      that the Issuer will be treated as a corporation and that the
Preference Shares will be treated as equity in the Issuer, and agrees to take no action inconsistent
with such treatment, unless required by law.

   (13) In the case of a purchaser that is a U.S. Person (within the meaning of the Investment
Company Act), it represents that, unless the purchaser is a Qualifying Investment Vehicle (as
defined below), (a) if the purchaser would be an investment company but for the exception in
Section 3(c)(1) or Section 3(c)(7) of the Investment Company Act, the amount of the purchaser's


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investment     in the Notes and Preference      Shares does not exceed 40% of the total assets
(determined on a consolidated basis with its subsidiaries) of the purchaser; Co) no person owning
any equity or similar interest in the purchaser has the ability to control any investment decision
of the purchaser or to determine, on an investment-by-investment             basis, the amount of such
person's contribution     to any investment    made by the purchaser;       (c) the purchaser was not
organized or reorganized for the specific purpose of acquiring Notes or Preference Shares; and
(d) no additional capital or similar contributions       were specifically solicited from any person
owning an equity or similar interest in the purchaser for the purpose of enabling the purchaser to
purchase Notes or Preference Shares (any such transferee in (a), (b), (c) or (d) above being herein
referred to as a "Flow-Through          Investment    Vehicle").     For this purpose, a "Qualifying
Investment Vehicle" is an entity as to which all of the beneficial owners of any securities issued
by such entity have made, and as to which (in accordance with the document pursuant to which
such entity was organized or the agreement or other document governing such securities) each
such beneficial owner must require any transferee of any such security to make, to the Issuer or
the Issuers, as the case may be, and the Trustee and the Note Registrar (in the case of the Notes)
or the Preference Share Transfer Agent (in the case of the Preference Shares) each of the
representations    set forth herein and in the Indenture and the Preference Share Paying Agency
Agreement required to be made upon transfer of any of the relevant Class of Notes or Preference
Shares (with modifications to such representations       satisfactory to the Issuer, the Co-Issuer, the
Trustee, the Note Registrar and the Preference Share Transfer Agent (as applicable) to reflect the
indirect nature of the interests of such beneficial owners in such Notes or Preference Shares. If it
is a Flow-Through Investment Vehicle, it represents and warrants that either (x) none of the
beneficial owners of its securities are U.S. Persons (within the meaning of the Investment
Company Act) or (y)some          or all of the beneficial owners of its securities are U.S. Persons
(within the meaning of the Investment Company Act) and each such beneficial owner has
certified to the purchaser that it is a Qualified Purchaser. If it is a Flow-Through Investment
Vehicle, it also represents and warrants that it has only one class of securities outstanding (other
than any nominal share capital the distributions in respect of which are not correlated to or
dependent upon distributions on, or the performance of, the Notes or Preference Shares).

   (14) In the case of a purchase of a Restricted Note, it agrees that (a) any sale, pledge or other
transfer of a Note (or any interes t therein) made in violation of the transfer restrictions contained
in Indenture and described herein, or made based upon any false or inaccurate representation
made by the purchaser or a transferee to the Issuer, the Co-Issuer, the Trustee or the Note
Registrar will be void and of no force or effect and (b) none of the Issuer, the Co-Issuer, the
Trustee and the Note Registrar has any obligation to recognize any sale, pledge or other transfer
of a Note (or any interest therein) made in violation of any such transfer restriction or made
based upon any such false or inaccurate representation.         It agrees to provide notice to each
person to whom it proposes to transfer any interest in the Notes of the transfer restrictions and
representations  set forth in the Indenture.

   The Indenture provides that if, notwithstanding         the restrictions on transfer contained therein,
either of the Issuers determines that any beneficial owner of a Restricted Note (or any interest
therein) (a) is a U.S. Person and (b) is not both a Qualified Institutional Buyer (or, in respect of
certain Original Purchasers an Institutional Accredited Investor) and a Qualified Purchaser, then
either of the Issuers may require, by notice to such beneficial owner, that such beneficial owner
sell all of its right, title and interest to such Restricted Note (or interest therein) to a person that is
(i) a non-U.S. Person in a transfer for an interest in a Regulation S Note, or (ii) both a Qualified


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Institutional Buyer and a Qualified Purchaser, with such sale to be effected within 30 days after
notice of such sale requirement is given.      If such beneficial owner fails to effect the transfer
required within such 30-day period, (y) upon direction from the Collateral Manager or the Issuer,
the Trustee, on behalf of and at the expense of the Issuer, shall cause such beneficial owner's
interest in such Note to be transferred      in a commercially    reasonable   sale arranged by the
Collateral Manager (conducted      by the Trustee in accordance       with Section 9-610(b) of the
Uniform Commercial Code as in effect in the State of New York as applied to securities that are
sold on a recognized market or that may decline speedily in value) to a person to whom such
Note (or interest therein) may be transferred in accordance with the transfer restrictions set forth
in the Indenture and (z) pending such transfer, no further payments will be made in respect of
such Note held by such beneficial owner.

  (15) It acknowledges    that the Issuers, the Initial Purchasers, the Trustee and others will rely
upon the truth and accuracy of the foregoing acknowledgments,         representations and agreements
and agrees that, if any of the acknowledgments,     representations or warranties made or deemed to
have been made by it in connection with its purchase of Notes are no longer accurate, the
purchaser will promptly notify the Issuers, the Initial Purchasers and the Trustee.
  (16) It is not a member of the public in the Cayman Islands.

   (17) To the extent applicable to the Issuers, the Issuers may impose additional         transfer
restrictions to comply with the USA PATRIOT Act and other similar laws or regulations, and
each beneficial owner of a Note is deemed to have agreed to comply with such transfer
restrictions.  The Issuers shall notify the Trustee, the Note Registrar and the Share Registrar of
any such restrictions.
  (18) It understands and agrees that a legend in substantially   the following   form will be placed
on each certificate representing any Note:
                   THIS NOTE HAS NOT BEEN AND WILL NOT BE REGISTERED
                   UNDER THE SECURITIES        ACT OF 1933, AS AMENDED      (THE
                   "SECURITIES    ACT"), OR THE SECURITIES LAWS OF ANY STATE
                   OF THE UNITED STATES OR ANY OTHER JURISDICTION,          AND
                   MAY BE RESOLD,       PLEDGED    OR OTHERWISE  TRANSFERRED
                   ONLY (A) (1) TO A PERSON WHOM THE SELLER REASONABLY
                   BELIEVES    IS A "QUALIFIED   INSTITUTIONAL  BUYER" WITHIN
                   THE MEANING      OF RULE 144A UNDER THE SECURITIES        ACT
                   ("RULE   144A"), PURCHASING      FOR ITS OWN ACCOUNT,      TO
                   WHOM NOTICE       IS GIVEN THAT THE RESALE,      PLEDGE    OR
                   OTHER TRANSFER        IS BEING MADE IN RELIANCE      ON THE
                   EXEMPTION     FROM SECURITIES ACT REGISTRATION     PROVIDED
                   BY RULE 144A OR (2) TO A NON-U.S. PERSON IN AN OFFSHORE
                   TRANSACTION       IN    ACCORDANCE      WITH RULE    904   OF
                   REGULATION    S UNDER THE SECURITIES   ACT ("REGULATION
                   S"), (B) IN COMPLIANCE    WITH THE CERTIFICATION      AND
                   OTHER    REQUIREMENTS    SPECIFIED   IN THE    INDENTURE
                   REFERRED TO HEREIN AND (C) IN ACCORDANCE         WITH ANY
                   APPLICABLE    SECURITIES LAWS     OF ANY   STATE   OF THE
                   UNITED STATES AND ANY OTHER RELEVANT JURISDICTION.



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                   NEITHER      OF THE ISSUERS    HAS BEEN REGISTERED       UNDER     THE
                   INVESTMENT       COMPANY     ACT OF 1940, AS AMENDED             (THE
                   "INVESTMENT       COMPANY      ACT").     NO TRANSFER         OF THIS
                   NOTE (OR ANY INTEREST HEREIN) MAY BE MADE (AND NONE
                   OF THE ISSUERS,      THE TRUSTEE      OR THE NOTE REGISTRAR
                   WILL   RECOGNIZE       ANY    SUCH    TRANSFER)        IF (A) SUCH
                   TRANSFER WOULD BE MADE TO A TRANSFEREE                  WHO IS A U.S.
                   RESIDENT     (WITHIN    THE MEANING        OF THE INVESTMENT
                   COMPANY     ACT) BUT IS NOT A "QUALIFIED            PURCHASER"     AS
                   DEFINED     IN    SECTION 2(a)(51)(A)     OF     THE     INVESTMENT
                   COMPANY     ACT AND RELATED RULES, A "KNOWLEDGEABLE
                   EMPLOYEE"      WITH RESPECT      TO THE ISSUER          (WITHIN   THE
                   MEANING OF RULE 3c-5 UNDER THE INVESTMENT                   COMPANY
                   ACT) OR A COMPANY        EACH OF WHOSE BENEFICIAL             OWNERS
                   IS A QUALIFIED         PURCHASER       OR     A KNOWLEDGEABLE
                   EMPLOYEE      (COLLECTIVELY,     A "QUALIFIED         PURCHASER")
                   TAKING DELIVERY       OF THIS NOTE (OR INTEREST HEREIN) IN
                   THE FORM OF A RESTRICTED             NOTE, (B) SUCH TRANSFER
                   WOULD HAVE THE EFFECT OF REQUIRING                  EITHER OF THE
                   ISSUERS TO REGISTER AS AN INVESTMENT              COMPANY UNDER
                   THE INVESTMENT        COMPANY      ACT OR (C)SUCH           TRANSFER
                   WOULD BE MADE TO A TRANSFEREE             WHO IS A U.S. RESIDENT
                   THAT IS A FLOW-THROUGH           INVESTMENT        VEHICLE     OTHER
                   THAN    A QUALIFYING        INVESTMENT         VEHICLE     (EACH   AS
                   DEFINED   IN THE INDENTURE)        WHICH TAKES DELIVERY            OF
                   THIS NOTE      (OR INTEREST     HEREIN)      IN THE FORM OF A
                   RESTRICTED     NOTE.


                   IN ADDITION, NO TRANSFER OF THIS NOTE (OR ANY INTEREST
                   HEREIN) MAY BE MADE (AND NEITHER THE TRUSTEE NOR THE
                   NOTE REGISTRAR       WILL RECOGNIZE        ANY SUCH TRANSFER)        IF
                   SUCH TRANSFER WOULD BE MADE TO A TRANSFEREE                    THAT IS
                   (A) A DEALER DESCRIBED         IN PARAGRAPH        (a)(1)(ii) OF RULE
                   144A WHICH OWNS AND INVESTS ON A DISCRETIONARY                   BASIS
                   LESS THAN U.S.$25,000,000     IN SECURITIES      OF ISSUERS THAT
                   ARE NOT AFFILIATED PERSONS OF THE DEALER OR (B) A PLAN
                   REFERRED TO IN PARAGRAPH         (a)(1)(i)(D) OR (a)(1)(i)(E) OF RULE
                   144A OR A TRUST          FUND REFERRED         TO IN PARAGRAPH
                   (a)(1)(i)(F) OF RULE 144A THAT HOLDS THE ASSETS OF SUCH a
                   PLAN, UNLESS       INVESTMENT     DECISIONS     WITH RESPECT        TO
                   THE PLAN ARE MADE SOLELY BY THE FIDUCIARY,                    TRUSTEE
                   OR SPONSOR OF SUCH PLAN.

                   EACH       ORIGINAL    PURCHASER    AND    TRANSFEREE       WILL    BE
                   DEEMED       TO REPRESENT     AND WARRANT)      THAT EITHER      (A) IT



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                  IS NOT A PLAN, A GOVERNMENTAL    OR CHURCH PLAN WHICH
                  IS SUBJECT TO ANY FEDERAL, STATE OR LOCAL LAW THAT IS
                  SIMILAR TO THE PROHIBITED   TRANSACTION   PROVISIONS OF
                  SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE, OR AN
                  ENTITY WHICH IS DEEMED     TO HOLD THE ASSETS OF ANY
                  SUCH PLAN PURSUANT TO 29 C.F.R. SECTION 2510.3-101, OR (B)
                  ITS PURCHASE  AND OWNERSHIP    OF SUCH NOTE WILL NOT
                  RESULT IN A NON-EXEMPT PROHIBITED TRANSACTION       UNDER
                  SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE (OR, IN
                  THE CASE OF A GOVERNMENTAL       OR CHURCH   PLAN, ANY
                  SUCH SIMILAR U.S. FEDERAL, STATE OR LOCAL LAW).

                  EACH PURCHASER      OF THIS NOTE WILL BE DEEMED TO HAVE
                  MADE      THE      APPLICABLE     REPRESENTATIONS           AND
                  AGREEMENTS     SET FORTH IN THIS LEGEND.
                  THIS NOTE OR ANY BENEFICIAL       INTEREST    HEREIN MAY BE
                  TRANSFERRED      TO A PERSON WHO TAKES DELIVERY         IN THE
                  FORM OF AN INTEREST        IN A REGULATION     S NOTE OR (IN
                  CERTAIN    LIMITED    CIRCUMSTANCES)    A DEFINITIVE       NOTE
                  ONLY (IN THE CASE OF AN INTEREST         IN A REGULATION       S
                  GLOBAL     NOTE)     IN   ACCORDANCE      WITH    APPLICABLE
                  PROCEDURES     (AS DEFINED IN THE INDENTURE)      AND (IN THE
                  CASE OF A DEFINITIVE      NOTE) UPON RECEIPT BY THE NOTE
                  REGISTRAR      OF   A    TRANSFER    CERTIFICATE     BY     THE
                  TRANSFEROR     AND THE TRANSFEREE     SUBSTANTIALLY      IN THE
                  FORM SPECIFIED IN THE INDENTURE.

                  THIS     NOTE    (OR AN     INTEREST   HEREIN)    MAY   NOT  BE
                  TRANSFERRED         UNLESS,   AFTER   GIVING   EFFECT   TO THE
                  TRANSFER,      THE TRANSFEREE     IS HOLDING A NOTE WITH AN
                  ORIGINAL       PRINCIPAL     AMOUNT     WHICH    IS  EQUAL   TO
                  U.S.$1,000,000    OR INTEGRAL      MULTIPLES   OF U.S.$1,000  IN
                  EXCESS THEREOF.

                  TO THE EXTENT APPLICABLE     TO THE ISSUERS, THE ISSUERS
                  MAY    IMPOSE  ADDITIONAL    TRANSFER   RESTRICTIONS    TO
                  COMPLY WITH THE USA PATRIOT ACT OR OTHER SIMILAR
                  LAWS AND REGULATIONS,     AND EACH BENEFICIAL   OWNER OF
                  A NOTE     AGREES   TO COMPLY     WITH   SUCH    TRANSFER
                  RESTRICTIONS.

                  THE   PURCHASER   OF THIS   NOTE  OR ANY    BENEFICIAL
                  INTEREST HEREIN WILL BE DEEMED TO UNDERSTAND        AND
                  AGREE THAT IF ANY PURPORTED   TRANSFER OF THIS NOTE OR
                  ANY BENEFICIAL  INTEREST HEREIN TO A PURCHASER     DOES
                  NOT COMPLY         WITH THE REQUIREMENTS        SET FORTH   IN THIS



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                 NOTE    OR    THE     INDENTURE,    THEN   THE   PURPORTED
                 TRANSFEROR      OF   THIS  NOTE    OR BENEFICIAL   INTEREST
                 HEREIN   SHALL BE REQUIRED          TO CAUSE THE PURPORTED
                 TRANSFEREE     TO SURRENDER        THE TRANSFERRED      NOTE OR
                 ANY BENEFICIAL       INTEREST     THEREIN    IN RETURN    FOR A
                 REFUND OF THE CONSIDERATION           PAID THEREFOR     BY SUCH
                 TRANSFEREE     (TOGETHER      WITH INTEREST    THEREON)   OR TO
                 CAUSE THE PURPORTED          TRANSFEREE    TO DISPOSE OF SUCH
                 NOTE OR BENEFICIAL       INTEREST PROMPTLY      IN ONE OR MORE
                 OPEN MARKET SALES TO ONE OR MORE PERSONS                EACH OF
                 WHOM       SATISFIES       THE     REQUIREMENTS        OF    THE
                 REPRESENTATIONS,        WARRANTIES      AND    COVENANTS      SET
                 FORTH IN THIS LEGEND, AND SUCH PURPORTED            TRANSFEROR
                 SHALL TAKE, AND SHALL CAUSE              SUCH TRANSFEREE       TO
                 TAKE, ALL FURTHER ACTION NECESSARY             OR DESIRABLE,   IN
                 THE JUDGMENT OF THE ISSUER, TO ENSURE THAT SUCH NOTE
                 OR ANY BENEFICIAL      INTEREST THEREIN IS HELD BY PERSONS
                 IN COMPLIANCE     THEREWITH.      ANY TRANSFER     IN VIOLATION
                 OF THE FOREGOING          PROVISIONS    OF THIS NOTE     OR THE
                 INDENTURE    WILL BE OF NO FORCE AND EFFECT, WILL BE
                 VOID AB INITIO, AND WILL NOT OPERATE TO TRANSFER ANY
                 RIGHTS    TO THE     TRANSFEREE,      NOTWITHSTANDING        ANY
                 INSTRUCTIONS     TO THE CONTRARY          TO THE ISSUERS,    THE
                 TRUSTEE OR ANY INTERMEDIARY.

                 IF, NOTWITHSTANDING   THE RESTRICTIONS SET FORTH IN THIS
                 NOTE    OR   THE  INDENTURE,   EITHER  OF  THE   IS SUERS
                 DETERMINES    THAT ANY HOLDER OF THIS RESTRICTED     NOTE
                 OR AN INTEREST HEREIN (I) IS A U.S. PERSON AND (II) IS NOT
                 BOTH A QUALIFIED     INSTITUTIONAL   BUYER (OR, IN RESPECT
                 OF CERTAIN    ORIGINAL     PURCHASERS,    AN INSTITUTIONAL
                 ACCREDITED   INVESTOR)    AND A QUALIFIED PURCHASER,      THE
                 ISSUERS SHALL REQUIRE,      BY NOTICE TO SUCH HOLDER, AS
                 THE CASE MAY BE, THAT SUCH HOLDER SELL ALL OF ITS
                 RIGHT, TITLE AND INTEREST       TO THIS NOTE (OR INTEREST
                 HEREIN) TO A PERSON THAT IS (1) A NON-U.S. PERSON IN A
                 TRANSFER FOR AN INTEREST IN A REGULATION        S NOTE OR (2)
                 A QUALIFIED    INSTITUTIONAL      BUYER   AND A QUALIFIED
                 PURCHASER,  WITH SUCH SALE TO BE EFFECTED          WITHIN 30
                 DAYS AFTER NOTICE OF SUCH SALE REQUIREMENT          IS GIVEN.
                 IF SUCH HOLDER FAILS TO EFFECT THE TRANSFER REQUIRED
                 WITHIN SUCH 30-DAY PERIOD, (X) UPON WRITTEN DIRECTION
                 FROM THE COLLATERAL         MANAGER     OR THE ISSUER,    THE
                 TRUSTEE SHALL, AND IS HEREBY IRREVOCABLY         AUTHORIZED
                 BY SUCH HOLDER TO, CAUSE ITS INTEREST IN THIS NOTE TO
                 BE TRANSFERRED     IN A COMMERCIALLY       REASONABLE    SALE




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                   (CONDUCTED     BY AN INVESTMENT     BANK SELECTED BY THE
                   TRUSTEE     WITH   THE   CONSENT     OF   THE    COLLATERAL
                   MANAGER     IN ACCORDANCE     WITH SECTION 9-610Co) OF THE
                   UCC AS APPLIED     TO SECURITIES     THAT ARE SOLD ON A
                   RECOGNIZED     MARKET OR THAT MAY DECLINE         SPEEDILY IN
                   VALUE) TO A PERSON THAT CERTIFIES TO THE TRUSTEE, THE
                   ISSUERS AND THE COLLATERAL       MANAGER,     IN CONNECTION
                   WITH SUCH TRANSFER,     THAT SUCH PERSON IS (1) A NON-U.S.
                   PERSON IN A TRANSFER FOR AN INTEREST IN A REGULATION
                   S NOTE OR (2) BOTH A QUALIFIED INSTITUTIONAL       BUYER AND
                   A QUALIFIED PURCHASER,     AND (Y) PENDING SUCH TRANSFER,
                   NO FURTHER PAYMENTS       WILL BE MADE IN RESPECT OF THE
                   INTEREST   IN THIS NOTE, AND THE INTEREST       IN THIS NOTE
                   SHALL NOT     BE DEEMED     TO BE OUTSTANDING        FOR THE
                   PURPOSE OF ANY VOTE OR CONSENT OF THE NOTEHOLDERS.



                                                 Very truly yours,

                                                 [Insert Name of Investor]


                                                 By:
                                                 Name:
                                                 Title:
NOTES TO BE PURCHASED:

$[.__] Class [A-1 ] [A-2] [B] [C] [D] [E] [Floating   Rate] [Fixed Rate] [Deferrable   Interest] Notes
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                                                                                    EXHIBIT   E

                                   FORM OF FUNDING         CERTIFICATE




                                    On File with the Initial Purchasers.




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                                                                                  EXHIBIT   F-1

                             FORM   OF CORPORATE      AND TAX      OPINION   OF
                                         ALLEN     & OVERY   LLP




                                         [SEE TABS #44 AND #46]




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                                                                                 EXHIBIT   F-2

                               FORM OF SECURITY INTEREST OPINION       OF
                                        ALLEN & OVERY LLP




                                              [SEE TAB #43]




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                                                                                EXHIBIT   G

                           FORM OF OPINION   OF MAPLES   AND CALDER




                                         [SEE TAB #50]




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                                                                                      EXHIBIT   H

              FORM OF OPINION             OF CADWALADER,   WICKERSHAM     & TAFT LLP




                                                  [SEE TAB #49]




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                                                                                    EXHIBIT     I

                             FORM OF OPINION    OF SEWARD      & KISSEL   LLP




                                             [SEE TAB   #47]




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                                                                                           EXHIBIT       J

             FORM OF SYNTHETIC          SECURITY     NOTIFICATION        FOR MOODY'S


                   [FORM    OF MANAGER       CERTIFICATION       OF SYNTHETIC]




[Date]

Moody's Investors Service
99 Church Street
New York, NY 10007
Attn: [Insert Name of applicable    CDO Analyst]

[-Name of Trustee] (the "Trustee")
[Address]
Attn: [Insert name of applicable contact at Trustee]

Re"      [Insert name and identifying details of Proposed Synthetic/Structured      Note/Structured
         Finance Obligation/Enhanced     Bond/other defined term for permitted      derivative
         products] (the "Proposed Asset")

Ladies and Gentlemen:


In connection with [insert Issuer's name](the "Issuer") intention to acquire the Proposed Asset,
and pursuant to [insert relevant section requiring written confirmation       from Moody's] of that
certain Indenture/Trust    Deed between the Issuer, [insert Co-Issuer's     name], and the Trustee,
dated as of [insert date of indenture/trust   deed] (the "Indenture"/"Trust   Deed"), we are writing
to request your confirmation that the inclusion of the Proposed Asset in the Issuer's portfolio will
not result in the withdrawal or reduction of any of the current Moody's ratings of the liabilities of
the Issuer.

Moody's has identified, and with the confirmation requested above will assign, a rating            factor
and recovery rate specific to this Proposed Asset that will, subject to any changes to the          rating
of the [reference obligation/obligor]      [and of any counterparties   involved in the Proposed    Asset
(e.g., swap counterparties,      participating   institution, etc.)], be used by the Trustee         when
calculating   certain specified     parameters     for determining     the Issuer's   compliance      with
requirements of the Indenture/Trust      Deed.

The undersigned     officer hereby confirms on behalf of [insert name of Collateral Manager
entity] that it has received confirmation    from the Trustee and has itself independently   verified
that the proposed acquisition of $/Euro [insert amount] [par value] of the Proposed Asset, when
analyzed using the rating factor(s) of [.__]     and a recovery rate of [.  %] as identified by you,
does not:




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                    (i)        violate the definition of [Collateral Security] [Collateral Item] [Collateral
                               Debt Obligation] [insert other applicable defined terms] as set out in the
                               [Indenture] [Trust Deed] [Definitions] dated as of [date] between [Name of
                               Issuer] (the "Issuer") and [insert other parties], as amended to the date
                               hereof (the "Governing Documents");
                    (ii)       violate any coverage tests or concentration           limitations     (including any
                               limitations  on permitted       exposure to [Synthetic        Securities,    Synthetic
                               Security Counterparties,       Participating Institutions,      Structured     Finance
                               Obligations,   Structured    Notes, Enhanced      Bonds][insert        other defined
                               term for permitted      derivative products]   as set forth in the Governing
                               Documents;
                    (iii)      violate any other covenant or restriction in the Governing Documents
                               applicable to collateral purchased by, and counterparties permitted for, the
                               Issuer.


We further acknowledge         that, pursuant to [insert relevant section requiring  Trustee to have
received confirmation       from     Moody's prior to including     Proposed   Asset in the Issuer's
portfolio], the Proposed Asset may only be included in the Issuer's portfolio after the Trustee has
received your [written] 1 confirmation       that the inclusion of the Proposed Asset in the Issuer's
portfolio will not result in the withdrawal or reduction of any of the current Moody's ratings of
the liabilities of the Issuer.


In consideration   of the foregoing, we ask that you assign the rating factor and recovery rate
specific to the Proposed Asset and please confirm that the proposed acquisition by the Issuer of
the Proposed Asset will not, at this time, result in the withdrawal or reduction of any of the
current Moody's ratings of the liabilities of the Issuer; provided, however, that such confirmation
shall be deemed to have been received if [Moody's] has not responded within 10 Business Days
of the receipt of this notification.

[Name of Collateral          Manager]

By:
            Name of individual/title




1 Include    "written" if so specified in Governing   Documents.



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                                                                                     EXHIBIT   K

                        FORM OF SYNTHETIC        SECURITY     (RMBS SECURITIES)




                                              [SEE TAB #14]




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                                                                                     EXHIBIT   L

                           FORM OF SYNTHETIC    SECURITY         (CMBS SECURITIES)




                                             [SEE   TAB   #14]




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